                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   IN KNOXVILLE

 AMERICA’S COLLECTIBLES                              )
 NETWORK, INC., d/b/a                                )
 JEWELRY TELEVISION®,                                )
                                                     ) Civil Action No.: 3:09-CV-143
        Plaintiff,                                   ) McDonough/Guyton
                                                     )
 v.                                                  )
                                                     )
 STERLING COMMERCE (AMERICA), INC.,                  )
                                                     )
        Defendant.                                   )
                                                     )

                            AGREED FINAL PRETRIAL ORDER

        This Court conducted a Final Pretrial Conference pursuant to Rule 16 of the Federal

 Rules of Civil procedure on April 24, 2017. Jim Wetwiska, Holli Pryor-Baze, David J. Shapiro

 and Ed Shipe appeared as counsel for Plaintiff America’s Collectibles Network, Inc., doing

 business as Jewelry Television® (“JTV”) and R. Paul Yetter, Joel D. Bush, II, and W. Kyle

 Carpenter appeared as counsel for Defendant Sterling Commerce (America), Inc. (“Sterling”).

 The following action was taken:

 I. Jurisdiction

        JTV alleges causes of action against Sterling for fraud in the inducement, promissory

 fraud, negligent misrepresentation, breach of contracts, and breach of express warranties. By

 way of a counterclaim, Sterling alleges causes of action against JTV for breach of contract and

 breach of the implied covenant of good faith and fair dealing. Original jurisdiction for JTV’s

 claims is 28 U.S.C. § 1332 based upon complete diversity of the parties and an amount in

 controversy exceeding $75,000. Personal and subject matter jurisdiction are not disputed.




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 II. Pleadings

          The pleadings, as amended, are hereby amended to conform to the pretrial order, without

 waiver of Sterling’s right to object to evidence or claims as being outside of JTV’s pleadings and

 prior disclosures, as specified further below. JTV objects to the inclusion by Sterling of the

 phrase “without waiver of Sterling’s right to object to evidence or claims as being outside of

 JTV’s pleadings and prior disclosures” because it defeats the purpose of a pre-trial order whose

 goal should be, among others, to make sure that the pre-trial order “supplants the pleadings.” 1

 JTV has no objection to language which makes clear that both parties reserve the right to object

 to evidence which was not requested and not disclosed to the other party in discovery, except to

 the extent herein provided.

          Sterling originally requested that JTV identify specific alleged misrepresentations and

 contract breaches by Sterling that JTV intended to pursue at trial. It is JTV’s position that the

 level of specificity requested by Sterling is unnecessary for a Pre-Trial Order in this Court or in

 the Sixth Circuit and that it is an attempt by Sterling to unfairly prejudice JTV by restricting

 JTV’s submissions of proof. Moreover, the Sample Agreed Final Pretrial Order for this Court, 2

 specifically instructs parties to “Set out a concise summary without detail” (emphasis in

 original). Per the requirements of this Court, the “General Nature of the Claims of” JTV and the

 “Theory” of its case is set forth below in Section III. 3




 1
   See, e.g., Sample Final Pretrial Order of U.S. District Judge Harry S. Mattice, Jr.; Sample Notice of Final Pretrial
 of Senior U.S. District Judge Curtis L. Collier; Sample Final Pretrial Order of U.S. Magistrate Judge Susan K. Lee.
 2
   http://www.tned.uscourts.gov/docs/judges/mcdonough_order.pdf.
 3
   However, in the spirit of cooperation, in order to address Sterling’s concerns, and without waiving any of the
 foregoing or its right to present evidence in support of its claims, JTV sets forth below the categories of fraud and
 breaches of contract committed by Sterling.
                                                            2


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 III. General Nature of the Claims of the Parties:

         a.      Claims: The following claims (including claims stated in the complaint,

 counterclaims, crossclaims, third-party claims, etc.) have been filed and not disposed of through

 motion practice. This is not an admission that the claims should be decided by the jury rather

 than disposed of as a matter of law by the Court at the appropriate time:

                                 For Plaintiff:

                                 i.     Fraud in the Inducement

                                 ii.    Promissory Fraud

                                 iii.   Negligent Misrepresentation

                                 iv.    Breach of Contract (the Agreements)

                                 v.     Breach of Express Warranties

                                 For Defendant/Counter-Plaintiff:

                                 i.     Breach of Contract (the Agreements)

                                 ii.    Breach of the Duty of Good Faith and Fair Dealing

         b.      Stipulated Facts: A list of uncontroverted facts are attached hereto as Exhibit A.

 The Parties are continuing to work in good faith on stipulating to the dates of the execution and

 the dates of their contracts.

         c.      Plaintiff’s Theory: This action arises from the fraudulent and negligent conduct

 of Sterling, a software developer, systems integrator and implementer, in connection with the

 sale of Sterling’s software and services and the failed installation of Sterling’s software to run

 JTV’s business operations. JTV, a television and Internet seller of jewelry and gemstones, is

 dependent upon well-functioning computer and software technology to run its business.

 Between 2005 and 2007, JTV investigated options for licensing software to improve its computer

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 and software technologies for warehouse management, order management, and purchase order

 systems, and having that software implemented by a software implementation vendor.

        To gain JTV’s business, Sterling fraudulently induced JTV into licensing its purportedly

 advanced SOA and interoperational warehouse management, order management, and purchase

 order system software, and retaining it to implement those systems, using material

 representations of fact it knew to be false, omissions and concealment of material facts, and

 promises which it knew it could not perform at the time they were made, all of which JTV

 reasonably relied upon. Sterling continued the fraud throughout the project by making

 misrepresentations of material facts and omitting and concealing material facts, making promises

 as to future conduct which it knew it could not perform at the time they were made, and then

 failed in the implementation of the software. JTV paid Sterling approximately $5.5 million for

 these software systems and its implementation services. Sterling’s conduct as described above

 amounts to fraud, misrepresentation, breaches of contract, and breaches of express warranties.

        As a result of Sterling’s misconduct that resulted in the failed implementation and

 Sterling’s abandonment of the project, JTV incurred damages arising from Sterling’s

 misconduct, including out of pocket and internal costs associated with the failed project,

 mitigation costs, lost profits and benefit of bargain recovery, including the monetary benefits lost

 as a result of the project failure, and the loss of benefits from other projects delayed because of

 the failure, all in an amount in excess of $65 million. Further, Sterling’s actions were

 intentional, fraudulent, malicious, and/or reckless so that JTV should be awarded punitive

 damages.

        In its decision denying Sterling’s motion for summary judgment on JTV’s fraud claim,

 the Court wrote that, “Tennessee courts agree that intentionally creating false impressions of

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 ability can constitute statements of existing fact to support a fraud claim.” [Dkt. # 419 at 26.] In

 Tennessee, a defendant can “subject himself to liability for intentionally or fraudulently creating

 ‘impressions’ designed to mislead.” Id. As set forth above, and without waiving JTV’s right to

 present all evidence in support its claims, Sterling committed fraud in the inducement, fraud, and

 promissory fraud when it (i) made misrepresentations of material facts and omitted material facts

 about its products and services and what its products and services could do for JTV’s business;

 and (ii) made promises as to future conduct which it knew it could not perform at the time they

 were made. These misrepresentations, omissions and promises intentionally created the false

 impression that Sterling’s products and services had the ability to provide JTV with the

 functionality, systems and “Solution” that could run JTV’s business, give it the tools to grow its

 business and weather an economic storm. Defendant’s misrepresentations include, among

 others:

            1. Sterling’s nWMS, OMS and PO software was a good fit for JTV.

            2. Sterling’s proposed Solution (i.e., the implementation of nWMS, OMS and PO)

                for JTV was a good fit for JTV.

            3. OMS, PO and nWMS, without significant modifications, could run JTV’s

                business.

            4. Sterling’s proposed Solution for JTV, without significant modifications, could run

                JTV’s business.

            5. Sterling had sufficient knowledge, experience and expertise to understand JTV’s

                unique business requirements and to implement a successful, on-time and on-

                budget project.



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                6. OMS, PO and nWMS, without significant modifications, could provide the

                     specific functionalities set forth in Exhibit B to the Initial Expert Report of Tom

                     Ryan. 4

                7. Sterling’s nWMS, OMS and PO were “highly interoperable,” the modules could

                     “seamlessly integrate” with JTV’s legacy system and “extensibility” was

                     straightforward, all consistent with a “packaged” solution.

                8. Sterling’s nWMS, OMS and PO modules and the Yantra Platform were

                     “integrated,” “pre-integrated,” “coherently integrated,” and the modules would

                     “all work together.”

                9. Sterling’s products were based on an advanced Service-Oriented Architecture

                     which would, among other things, not require a great deal of work by JTV to

                     make procedures, data exchange and seamless functionality occur.

                10. Sterling misrepresented its ability to implement all three parts of its “solution”

                     (nWMS, OMS and PO) in approximately the same timeframe as it could

                     implement nWMS alone.

                11. Sterling falsely represented that it had the products, capability and resources to

                     implement a fully designed and developed Solution at JTV for approximately $2

                     million that conforms to JTV's business practices and processes and which is

                     technically feasible within the framework of JTV's hardware and software

                     systems with a ‘go live’ of April 15, 2008 but, in any event, no later than June 15,

                     2008.




 4
     “JTV’s Observations of Functionalities not Provided by the Sterling Software.”
                                                            6


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         12. Sterling misrepresented the degree and complexity of interfaces required for the

            project.

         13. Sterling misrepresented the amount of work that JTV would have to do to make

            the project a success.

         14. Sterling failed to disclose that nWMS was an immature product.

         15. Following the Solution Design phase, Sterling misrepresented the status of the

            project, that it was ready to proceed to implementation, and that Sterling was

            ready, willing and able to achieve a successful, on time and on budget

            implementation.

         16. Sterling failed to disclose the significant problems with the nWMS product and

            code that was bringing QVC to its knees.

         17. Sterling failed to disclose that the OMS SDD, as delivered by Sterling, was

            “garbage” and “just JTV’s wish lists with very little thought into how we

            (Sterling) meet the (JTV) requirements.”

         18. Sterling falsely represented that its products had “out-of-the-box” functionality

            that was essential to running JTV’s business.

         19. Sterling had available staff and outside consultants with the necessary experience

            and skill set to seamlessly implement nWMS, OMS and PO on time and on

            budget, including a large global delivery center of over 600 employees that it

            could pull from; and Sterling’s “highly skilled resources, products and services”

            would allow for a single source provider to meet JTV’s needs.

         20. Sterling Commerce “[had expertise] in its software, . . . experience in

            implementing similar solutions in other companies, and . . . ability to customize

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            the Sterling Commerce software to meet the requirements as defined in the

            Solution Definition document."

         21. Sterling had successfully implemented nWMS, OMS and PO together (i.e.,

            simultaneously and in parallel) at other companies.

         22. The Solution could be implemented in 6 months and 10 days but, in any event “no

            later than June 15, 2008” (i.e., within 8 months and 10 days).

         23. “The estimated amount budgeted for the implementation of the Sterling

            Commerce Solutions for WMS, OMS and PO . . . and the Services to be provided

            by Sterling Commerce [approximately $2 million], will be sufficient to enable the

            Solutions to be fully designed, developed and implemented at [JTV].”

         24. There would be no adverse effect on the resources Sterling will devote to JTV’s

            project if JTV licenses OMS and PO, and Sterling will “Ensure the right resources

            are available to meet [JTV’s] Demand.”

         25. Sterling would provide “consistent project leadership, architecture expertise and

            business/systems analysis” and “Consistency of Resources.”

         26. Sterling had the personnel available for critical on-site work at JTV to evaluate,

            design, and implement the project on Sterling’s behalf.

         27. Sterling had access to outside consultants of sufficient competence, experience

            and expertise to complete the project successfully.

         28. Sterling had the technical expertise on-site to evaluate JTV’s systems and design a

            “solution” that would meet JTV’s “end to end” needs.




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            29. Sterling had the ability to write requirements into a “solution definition

                document” sufficient to allow implementation to be successful, on-time and on-

                budget.

            30. Sterling was skilled in blending its project planning and implementation

                methodology of “Rapid Returns” with JTV’s agile processes, and employed “field

                tested best practices” in managing projects.

            31. Sterling would “Assign the Sterling Commerce resources necessary for a

                successful project”; and “Ensure deliverables are completed on time.”

            32. Sterling would provide a Solution Architect who “ensures the overall quality of

                the design and implementation” and he, she or they will, among other things,

                “Provide product and technical expertise” and “Quality control the

                implementation.”

        In addition, JTV claims that Sterling has breached numerous provisions of the parties’

 Agreements by failing to deliver project deliverables, failing to implement a fully designed and

 developed Solution conforming to JTV's business processes, and failing to implement a Solution

 on time and on budget. Although too numerous to set forth herein, the following are examples of

 Sterling’s material breaches, among others, of the parties’ Agreements:

            1. Failure to deliver a functional fit analysis in breach of Section G of the Pre-

                Project Planning Statement of Work, Change Request Form 001;

            2. Failure to deliver a Solution Definition audit to assess the soundness of the

                design, implementation plan and approach, and help identify areas of risk in

                breach of Sections A(22) and C(3) of the Solution Definition Phase Statement of

                Work;

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          3. Failure to properly design, configure, build, test and deploy the OMS, nWMS,

             and PO Solution based on Solution Definition Documents in breach of Section A

             of the Implementation Phase Statement of Work;

          4. Failure to create detailed design plans for Sterling custom extensions as identified

             in Section A(3) of the Implementation Phase Statement of Work;

          5. Failure to conduct a Build & Test audit, Performance Results Audit and a Go-

             Live Readiness report in breach of Section A(12) of the Implementation Phase

             Statement of Work;

          6. Failure to deliver complete and accurate Detailed Design documentation for the

             OMS, nWMS, and PO Solution in breach of Section C of the Implementation

             Phase Statement of Work;

          7. Failure to deliver the OMS, nWMS, and PO Solution, per the Solution Definition

             Documents, unit-tested and ready for system, performance and user acceptance

             tests in breach of Section C of the Implementation Phase Statement of Work;

          8. Failure to provide personnel in conformance with project needs and as outlined in

             Section F of the Implementation Phase Statement of work;

          9. Failure to implement a fully designed and developed WMS, OMS, and PO

             Solution for the amount estimated by Sterling in breach of Section H of the

             Implementation Phase Statement of Work;

          10. Failure to design, develop, and implement the nWMS, OMS, and PO Solution to

             conform to JTV’s business practices and processes as reflected in the Solution

             Definition Document in breach of Section H of the Implementation Phase

             Statement of Work;

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             11. Failure to complete all design, development and testing of the Solution so that the

                Solution was ready to go live within budget by April 15, 2008 and no later than

                June 15, 2008 in breach of Section H of the Implementation Phase Statement of

                Work; and,

             12. Failure to perform services in a professional and workmanlike manner in breach

                of Section 8(a) of the Professional Services Agreement.

 JTV further notes that Sterling has failed to identify the specific contract terms at issue in its

 breach of contract counterclaims.

        d.      Defendant/Counter-Plaintiff’s Theory: Sterling developed, licensed, and

 implemented computer software systems, which it licensed to its customers. It also provided

 consulting services, working with customers to configure their new software for their business

 needs. In 2006, JTV decided to license Sterling’s warehouse software. Over the next year, JTV

 also decided to license other Sterling software and to engage Sterling for implementation

 services. The parties entered into a series of contracts during this period. At no point did Sterling

 intend to mislead JTV, which understood the software and implementation plans. While it had

 initial employee turnover, Sterling committed substantial resources to the JTV project. At JTV’s

 request, the project was delayed and narrowed in scope. As amended, the project was completed

 in September 2008, and JTV continues to use the Sterling software today. Sterling was willing to

 finish the rest of the project, but JTV ended the parties’ discussions and cut short the work. JTV

 filed suit without trying to work through the dispute, and its claims are without merit for many

 reasons. Sterling’s statements at the time were true, and JTV understood the nature of the project

 and software. JTV had ample opportunity to investigate before signing the parties’ agreements.

 Sterling did not breach the contracts by completing the project in the time and scope that JTV

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 requested. JTV’s decisions on the project were for reasons unrelated to Sterling’s performance.

 JTV seeks damages that are speculative, not reasonably foreseeable, inconsistent, legally

 impermissible and factually unwarranted, and not caused by Sterling. Sterling is asserting the

 affirmative defenses of waiver, estoppel, ratification, failure to mitigate, and contractual

 limitation of liability.

         Lastly, JTV failed to pay for Sterling’s services, Sterling’s expenses, and taxes under the

 contracts (see, e.g., D-0028 §§ 2(a), 3(a); D-0234 §§ 2(a), 3(a)), for which Sterling is entitled to

 recover the amounts owing plus interest and attorney fees, and JTV failed to meet other contract

 duties as previously pleaded by Sterling, such as those set forth in D-0158 § 2(c); D-0234 § 4(b);

 D-0327 § 2(c); D-0331 §§ B, E; and D-0001 §§ B, E.

         e.      Counter-Defendant’s Theory Responsive to Counterclaims:

         Until the last draft, Sterling had not identified in the pre-trial order either the contract

 provisions under which it claims recovery or the services for which it claims recovery.

 Accordingly, of necessity, the Counter-Defendant’s Theories responsive to the Counterclaims

 must be as specified in the Answer to Counterclaims. JTV’s theory is that: (i) Sterling

 fraudulently induced JTV to enter into the contracts, thereby rendering the terms of the contracts

 voidable; (ii) Sterling materially breached the contracts, thereby excusing further performance by

 JTV; (iii) some or all the amounts claimed are not payable under the contracts, even in the

 absence of fraud or breach by Sterling; and (iv) JTV incorporates by reference affirmative and

 specific defenses set forth in JTV’s Answer to Sterling’s Counter-claims (Dkt. 61).




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 IV. Contested Issues of Law

             For Plaintiff

         All contested issues of law were resolved by the Court’s decision on the parties’ motions

 for summary judgment. (Dkt. # 419) It is JTV’s position that the issues of law set forth below

 by Defendant are not contested issues of law; they are contested issues of fact and Item No. 3

 assumes facts not in evidence and allegations of facts that will not be proven at trial (i.e., there

 was no April 2008 modification of the Implementation SOW).

             JTV further asserts that Item Nos. 2 (ratification), 4 (limitation of liability), 5

 (rescission), 6 (modification), and 14 (abrogation of express warranties under Ohio common law)

 are not proper contested issues of fact because Sterling did not assert them as affirmative

 defenses in its Answer [Dkt. # 55]. JTV further asserts that Item Nos. 4 (contractual limitation of

 recovery) and 11 (contractual limitation of recovery) are not contested issues of law because the

 Court held, in its decision on the motions for summary judgment, that if fraudulent inducement is

 proven, the contract’s terms cannot limit JTV’s recovery. JTV further asserts that Item No. 12 is

 not a contested issue of law because JTV is not obligated to identify specific contract terms at

 issue and to state its construction of that language; rather, it is the jury’s job to determine if

 Sterling breached the JTV/Sterling contracts as asserted at trial. JTV also asserts that Item No.

 15 is not a contested issue of law; pursuant to Section 2(b) of the Scheduling Order, all motions

 to exclude expert testimony pursuant to Fed. R. Evid. 702 had to have been filed no later than

 January 24, 2017, and Item No. 15 seeks to exclude categories of damages upon which JTV’s

 expert witness will testify at trial. JTV also asserts that Item No. 17 is not a contested issue of

 law but is, rather (as so found by the Court (Dkt. #52 at 11; Dkt. # 419 at 46-47)), an election of

 remedies issue.

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               For Defendant

         1.       Whether as a matter of law JTV waived its claims of fraud by continuing to

 perform under the parties’ contracts after it learned of the purported fraud in early 2008.

         2.       Whether as a matter of law JTV ratified the contracts after learning of the

 purported fraud.

         3.       Whether as a matter of law JTV waived its fraud claims by agreeing to and then

 performing in accordance with the April 2008 modification of the Implementation SOW.

         4.       Whether as a matter of law the Limitation of Liability provisions in the Universal

 Software License Agreement and Professional Services Agreement limit any recovery by JTV.

         5.       Whether as a matter of law JTV’s fraud claims are barred by its failure to rescind

 the parties’ agreements or attempt to return the software and related documentation.

         6.       Whether as a matter of law the parties modified the Implementation SOW.

         7.       Whether as a matter of law JTV waived full performance of the Implementation

 SOW.

         8.       Whether JTV is estopped from asserting that Sterling breached the October 2007

 Implementation Phase SOW by not completing the implementation of WMS / OMS / PO by June

 15, 2008 on the grounds that JTV unilaterally changed the scope and timing of the

 implementation before the proposed June 15, 2008 go live date.

         9.       Whether as a matter of law any representation upon which JTV seeks to recover is

 a generic statement of quality or ability.

         10.      Whether as a matter of law any representation upon which JTV seek to recover is

 sales talk or puffery.



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           11.    Whether as a matter of law JTV’s claims and damages are barred by the merger

 and non-reliance provisions in the Universal Software License Agreement and Professional

 Services Agreement.

           12.    What as a matter of law is the proper interpretation of each contract provision at

 issue.

           13.    Whether as a matter of law JTV prevented Sterling from performing any contract

 obligations.

           14.    Whether as a matter of law JTV’s express warranty claim is viable because Ohio

 has abrogated such claims under common law, and JTV failed to plead a statutory cause of

 action.

           15.    Whether JTV’s damages are legally recoverable, including whether its claim for

 lost cost savings is a recoverable category of lost profits.

           16.    Whether as a matter of law JTV can recover on a breach of contract claim for

 which it fails to produce evidence of damages attributable to that specific breach.

           17.    Whether as a matter of law JTV can seek rescission of the contract plus the

 benefits of the contract.

           18.    Whether as a matter of law JTV’s claim for negligent misrepresentation is barred

 by ratification, waiver, or equitable estoppel.

 V. Exhibits

           The parties have exchanged exhibit lists in accordance with the Scheduling Order and

 Rule 26(a)(3)(A)(iii). (Dkt. ## 656, 658.) The Parties exchanged shortened exhibit lists to

 decrease the number of exhibits and shorten the number of deposition designations on April 7;

 they exchanged summary and compilation exhibits on April 12; objections to exhibits were

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 exchanged on April 15; and counter deposition designations were exchanged by April 18. Both

 parties reserve the right to object to a reasonable number exhibits which were not yet identified

 by either party. The Parties’ Joint Exhibit List was submitted to the Court on April 18. Id., ¶ 7

 (as amended by Stipulation, Dkt. ## 678, 685). The Parties have exchanged objections to

 admissibility of listed exhibits, and discussion is ongoing. Plaintiff objected to 9 of Defendant’s

 exhibits. Defendant objected to 233 of Plaintiff’s exhibits. Counsel are working together

 pursuant to Plaintiff’s efforts to greatly reduce that number of objections. To the extent this is

 not resolved before the pretrial conference, Plaintiff will be seeking relief from the Court. All

 Joint Trial Exhibits to be introduced have been pre-marked in such a way as to allow the Court to

 determine which party is offering them. As of now, objections are pending to the admissibility

 of the following exhibits:

         a.      Attached as Exhibit B is a list of JTV’s core exhibits objected to by Sterling and

                 JTV’s responses.

         b.      Attached as Exhibit C is a list of Sterling’s core exhibits objected to by JTV.

 VI. Witnesses

         The parties disclosed all witnesses in accordance with Fed. R. Civ. P. 26(a)(3)(A) [Dkt.

 ## 634, 635], except that JTV failed to disclose its intent to call an unnamed “corporate

 representative” of Sterling to testify at trial about any specific topics (as to which Sterling objects

 below). JTV asserts that its failure to list a corporate representative on its witness list was a result

 of an inadvertent error which was recognized when new counsel were retained and JTV

 respectfully submits that there would be no prejudice if a Sterling corporate representative was

 compelled to testify on behalf of the corporation at trial. JTV intends to file a motion pursuant to

 Section 1(c) of the Court’s Scheduling Order [Dkt. # 415] seeking permission to add a Rule

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 30(b)(6) witness for designated topics on its Witness List. A list comprised of the names of all

 witnesses, their addresses and telephone numbers is as follows:

                a.      For Plaintiff:

                       i.       Plaintiff expects to present the following witnesses:

                                A.       Fact witnesses presented in person: Bob Hall, Chris

 Meystrik, Wayne Lambert, Jason Hembree, George Willard, Clay Davis, Tom Guschke, Mary

 Regan, Stephanie Rowan, Joseph Pendergrass, Tim Matthews, Randy Puryear all c/o David

 Shapiro, The Law Offices of David J. Shapiro, P.C., 43 West 43rd Street, Suite 45, New York,

 New York 10036, (212) 709-8047; and Felton Lewis, c/o Stephen Harold Byrd, Law Office of

 Stephen H. Byrd, 11704 Black Powder Drive Knoxville, Tennessee 37934-4720.

                                B.       Retained experts presented in person: Tom Ryan, Scott

 Bayley, Bob Schatz, Zaydoon Jawadi, all c/o David Shapiro, The Law Offices of David J.

 Shapiro, P.C., 43 West 43rd Street, Suite 45, New York, New York 10036, (212) 709-8047.

                                C.       Plaintiff also expects to call Sterling corporate

 representative with knowledge of the following: (1) the representations made to JTV with

 regard to the software and Sterling’s implementation and services; (2) the business case prepared

 under the pre-planning phase; (3) the identification and description of other Sterling customers

 for which Sterling implemented nWMS, PO and OMS prior to or simultaneous to the JTV

 project; (4) Sterling’s net worth; and (5) interoperability of nWMS, OMS and PO as of June 1,

 2007, including all tests of interoperability.

                                D.       Plaintiff may call the following witnesses: David

 Boeschenstein, Natalie Parman, Chris West, Greg West, Clint James, Shannon Meade, Brad

 Waller, Steven Walsh, Denny Becker, Crawford Wagner, Dustin Cole, Lisa Cornelius, Chris

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 Jepeway, Ryan McClurkin, Waleed Nour, Andy Meadows, Chris Redman, Lisa Tennant, and

 Kathy Willard, all c/o David Shapiro, The Law Offices of David J. Shapiro, P.C., 43 West

 43rd Street, Suite 45, New York, New York 10036, (212) 709-8047.

                                  E.      Plaintiff may also call the following witnesses: all

 witnesses listed by Sterling in Doc. 635; J.T. Thome, Cellular Sales, 9040 Executive Park Drive,

 Knoxville, Tennessee 37923-4607, (865) 584 7555; Joe Fields, 3926 Logan’s Landing Circle,

 Louisville, Tennessee 37777; Thomas Hays, NHB Advisors, Inc., 822 Montgomery Ave. Suite

 204, Narberth, Pennsylvania 19072 (610) 660-0060; and Felton Lewis, c/o Stephen Harold Byrd,

 Law Office of Stephen H. Byrd, 11704 Black Powder Drive Knoxville, Tennessee 37934-4720.

                                  F.      Plaintiff expects to call the following witnesses by

 deposition: David Boeschenstein, Felton Lewis, Gary Giannoni, Guy Read, Janet Scanzio,

 Kerstin Smith, Louis Burgin, Madhaven Madhu, Mark Anderson, Richard Jackson, Sumit Singh,

 Subroto Majumdar and John Sullivan. Plaintiff’s Deposition Designations are as specified in

 Doc. 657.


                                  G.      JTV reserves the right to examine any witnesses called to

 testify by Sterling, call any witness listed on Sterling’s initial trial witness list, narrow its list of

 trial witnesses consistent with the Court’s ruling concerning the allotment of time for trial, and

 call witnesses solely for rebuttal purposes should the need arise.


                                  H.      JTV corrects Sterling’s statement in Section b.i. below.

 Lambert, Thome and Nour are former JTV employees. Nour was never a JTV executive. JTV

 believes that Lambert will voluntarily appear at trial in Chattanooga but JTV makes no

 representation regarding Thome and Nour. JTV also objects to section b.ii. below to the extent

                                                     18


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                                  25049
 Sterling expects to present Joseph Fields, Andrew Meadows and Waleed Nour by deposition.

 None of the deponents are now or were at the time their depositions were taken a JTV “officer,

 director, managing agent, or designee” under Rule 30(b)(6) or 31(a)(4). Likewise, they are not

 unavailable witnesses under Rule 32(a)(4). Accordingly, under Rule 32, their testimony cannot

 be presented by deposition.


        b.     For Defendant

        i.     Sterling expects to present the following witnesses in person: Mark Anderson,

 Suzanne Cantu, Bob Hall, Ben Janowski, Leon Kappelman, Evan Kovanis, Wayne Lambert,

 Subroto Majumdar, Waleed Nour, Charles Phillips, Randy Puryear, Guy Read, Warren Reid,

 Janice Scanzio, J.T. Thome, Charles Wagner, and Cory Wiegert, all c/o Kyle Carpenter, Woolf,

 McClane, Bright, Allen & Carpenter, PLLC, 900 S. Gay Street, #900, Knoxville, Tennessee

 37902, (865) 215-1000, except for Mssrs. Hall, Lambert, Puryear, Thome, Nour, and Wagner,

 who are or were JTV employees, c/o David Shapiro, The Law Offices of David J. Shapiro, P.C.,

 43 West 43rd Street, Suite 45, New York, New York 10036, (212) 709-8047.

        ii.    Sterling expects to present the following witnesses by deposition (unless the need

 arises to call them live): David Boeschenstein, Allen Carpenter, Joseph Fields, Gary Giannoni,

 Steve Gordon, Felton Lewis, Andrew Meadows, Waleed Nour, and Gregory West;

        iii.   Sterling may call the following witnesses by deposition or in person should the

 need arise: Louis Burgin, Tabish Hashmi, Richard Jackson, Suresh Pillai, Danilo Rodriguez,

 Sumit Singh, Kerstin Smith, John Stelzer, and Phil Tympanick, all c/o Kyle Carpenter, Woolf,

 McClane, Bright, Allen & Carpenter, PLLC, 900 S. Gay Street, #900, Knoxville, Tennessee

 37902, (865) 215-1000;


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                                  25050
         iv.     Sterling reserves the right to examine any witnesses called to testify by JTV, call

 any witness listed on JTV’s initial trial witness list, narrow its list of trial witnesses consistent

 with the Court’s ruling concerning the allotment of time for trial, and call witnesses solely for

 rebuttal purposes should the need arise;

         v.      Sterling objects to JTV’s intention to call a “Sterling corporate representative”

 with knowledge of specified matters, including because the Rules do not entitle a party to force

 an opposing party to produce an unnamed corporate representative for testimony at trial, JTV

 failed to list a Sterling corporate representative on its trial witness list by the required deadline,

 the Rules protect fact witnesses from being compelled to attend trial outside the subpoena range

 of the court, it is too late for JTV to take discovery of a Sterling corporate representative at trial,

 and this tactic will prolong the trial proceedings.

 VII. Other Matters

         a.      Trial: This case is set for trial before the undersigned and a jury at 9:00 a.m. on

 May 9, 2017. JTV intends and has made a demand for a jury trial. Counsel shall be present on

 the first day before commencement of trial to take up any preliminary matters. Pursuant to the

 Court’s Order, each party is limited to 38.5 hours to present their respective side of the matter,

 including jury selection, opening statement, and closing argument. Therefore, the probable

 length of trial is 14 days (assuming 5.5 hours of court time per day). The parties should be

 prepared for trial on the scheduled date. If this case is not heard immediately, it will be held in

 line until the Court’s schedule allows the trial to begin.

         b.      Possibility of Settlement: Based upon prior communications and Sterling’s

 failure to date to make a settlement offer, JTV does not believe settlement is possible prior to

 trial, but JTV remains open to discussing a reasonable settlement prior to trial. Sterling also

                                                    20


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                                  25051
 remains open to discussing a reasonable settlement prior to trial, and the preceding sentence is

 quite misleading and improperly reflects the parties’ settlement discussions.

         c.      Miscellaneous Matters:

                 i. Joint:

         1.      The parties have agreed to provide 24-hour advance notice of the identity and

 order of the witnesses they will call at trial. Sterling believes that 48-hour notice in this case is

 better and would result in more efficient trial proceedings, given the large number of identified

 potential witnesses.

         2.      The parties have agreed that demonstratives will be exchanged one day prior to

 their use in court, but open items include whether demonstratives can be used during the opening

 statement and remain visible to the jury during the trial.

                 ii. JTV:

         1.      Sterling now asserts that the limitation of liability provision in the parties’ USLA

 and Services Agreement is a contested issue of fact, indicating its intention to argue and elicit

 testimony from witnesses about the provision and its impact on the jury’s determination of

 liability and damages at trial. JTV believes that this is improper as the Court previously ruled

 on the issue (Dkt. 316), prejudicial to JTV, and confusing and irrelevant to the jury’s

 consideration of this case.   JTV requests that the Court exclude any evidence, argument, or

 mention otherwise of the agreements’ limitation of liability provisions and that the Court rule on

 this issue. JTV will submit further briefing on this issue prior to the Pretrial Conference.

         2.      Pursuant to Federal Rule of Civil Procedure 25(c), JTV intends to file a motion to

 substitute IBM as the proper party of interest because Sterling is a dissolved company and



                                                   21


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                                  25052
 operating as a division of IBM. JTV believes that substitution is proper and appropriate prior to

 the start of trial.

                  iii. Sterling:

           1.     To streamline trial, the parties entered into a stipulation to make good faith efforts

 to reduce their deposition designations and exhibits. JTV has not reduced its original designation

 of 54,377 lines of deposition testimony (roughly 2175 deposition pages), which equates to 36.25

 to 72.5 hours of video deposition testimony to be played by JTV, assuming 1-2 minutes per

 deposition page. Sterling respectfully invites the Court’s guidance on narrowing the evidence for

 trial.

                  JTV’s Response: Reduction in deposition designations will be addressed as time

 permits. In any event, JTV only designated Chris Meystrik, Robert Hall, Jason Hembree, Wayne

 Lambert, Tim Matthews, Joe Pendergrass, Randy Puryear “in the unlikely event” that one or

 more of the witnesses who were deposed are unable to testify at trial. That is the only time that

 any one of these witnesses will be called by deposition. Also, JTV expects to call Mary Regan

 and Felton Lewis at trial; it is unlikely that JTV will present their testimony by deposition.

 However, Plaintiff has no control over these witnesses. Finally, Plaintiff expects that important

 Sterling witnesses such as Gary Giannoni, Guy Read, Janice Scanzio, Kerstin Smith, Louis

 Burgin, Madhu Madhavan, Mark Anderson, Rich Jackson, Sumit Singh, and Subroto Majumdar

 will appear at trial, and those witnesses will therefore be cross-examined, rather than depositions

 used. .

           2.     To streamline voir dire, Sterling proposed the use of a short, jointly prepared

 supplemental jury questionnaire designed to elicit additional relevant background information



                                                    22


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                                  25053
 from the venire. JTV opposes the idea. Sterling respectfully requests the Court’s view on the

 issue.

          3.    JTV appears to be adding three new claims, to which Sterling objects. First, JTV

 appears to be trying to add a claim of fraudulent omission or concealment, which is a new claim

 that is not in JTV’s prior pleadings or disclosures. This is a separate cause of action from its two

 pleaded fraud claims (fraudulent inducement and promissory fraud), with elements such as a

 confidential or fiduciary relationship that also were not pleaded. JTV’s pleaded claims of

 promissory fraud and fraudulent inducement do not permit recovery for omission or

 concealment. Second, JTV seems to be making a new claim that Sterling’s conduct was

 “intentional, . . . malicious, and/or reckless,” which is not in JTV’s prior pleadings. Third, JTV

 now argues that QVC evidence is relevant and admissible to show a “product defect within the

 core . . . of [the] nWMS” software that was deployed at JTV. See Dkt. #682, at 8; see also id. at

 1 (alleging that “Sterling’s defective software . . . caused JTV’s damages”). JTV’s prior

 pleadings do not allege that Sterling’s software was defective. Sterling objects to all new claims,

 as they are not proper to assert at this late date, were waived by failure to timely plead them,

 unfairly surprise and prejudice Sterling, will complicate the trial, and should not be permitted.

                JTV’s Response: The allegations identified by Sterling in Paragraph 3 are not

 new causes of action by JTV. In its 55-page Second Amended Complaint, JTV provides more

 than fair notice of its claims in detailed factual and legal allegations. First, fraudulent

 inducement under Tennessee law includes both misrepresentations and omissions. Failure to

 disclose a known fact that justifiably induces another to act or refrain from acting in a business

 transaction is subject to the same liability as a misrepresentation of the nonexistence of the

 matter that a party failed to disclose. Homestead Grp., LLC v. Bank of Tenn., 307 S.W.3d 746,

                                                   23


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 751 (Tenn. Ct. App. 2009). JTV specifically pled Sterling’s failure to disclose in Count One

 (Fraud in the Inducement) of its Second Amended Complaint, which expressly includes both

 Sterling’s numerous misrepresentations of material facts and failure to disclose material facts to

 JTV. Dkt. 32(JTV’s Second Amended Complaint), ¶¶116, 119. JTV further addressed

 Sterling’s omissions and concealments in its summary judgment briefing (e.g. Dkt. 316, pp. 3,

 10, 11, 14, 15, 44, 45), which the Court acknowledged in its summary judgment opinion. (Dkt.

 419 (Memorandum Order), p. 23 (stating that JTV identified hundreds of specific statements and

 omissions in its summary judgment evidence to support its fraud cause of action). Further, a

 duty to disclose not only arises in a confidential or fiduciary relationship, but also where it

 appears a party to a contract reposes trust and confidence in the other party. See Homestead

 Group, at 751-52. This is precisely the nature of the relationship between Sterling, who claimed

 to be an expert in designing and implementing its software, and JTV, who required properly

 functioning software to run its business and relied on Sterling’s claimed experience and expertise

 for successful configuration, design, and implementation of the Sterling’s software. E.g. Dkt. 32,

 ¶¶ 2, 10, 41, 53, 56.

        Second, JTV’s Second Amended Complaint clearly states that Sterling acted intentionally

 and recklessly and that JTV seeks punitive damages against Sterling for its wrongful conduct.

 E.g. Dkt. 32, ¶¶ 5, 39 (stating that Sterling made misrepresentations with intent), 120 (stating that

 Sterling “knew, or was reckless in failing to know,” that its statements were false), 122 (stating

 Sterling made intentional misrepresentations), 124 (stating that Sterling’s actions were

 committed “knowingly, willfully, and in conscious disregard of the rights of JTV”), 127(stating

 Sterling made intentional misrepresentations), 131 (stating that Sterling’s actions were

 committed “knowingly, willfully, and in conscious disregard of the rights of JTV), Prayer. To

                                                  24


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 award punitive damages under Tennessee law, the jury must find that JTV has shown by clear

 and convincing evidence that Sterling acted either intentionally, recklessly, maliciously or

 fraudulently. Hodges v. S.C. Tool & Co., 833 S.W.2d 896 (Tenn. 1992) (setting forth standard

 for punitive damages). No further pleading was necessary to put Sterling on notice that JTV was

 alleging such behavior by seeking punitive damages for its wrongful conduct.

        Third, JTV is not making a new claim for a defective product; since the filing of this

 lawsuit, JTV has claimed that Sterling made numerous misrepresentations about the quality and

 functionality of its software sold to JTV. E.g. Dkt 32, ¶¶ 2 (stating that Sterling made false

 representations that its software was “highly integrated”), 15 (stating that Sterling advertised its

 PO software as capable of the aggregation, routing and tracking of planned orders), 119 (stating

 that Sterling misrepresented the “highly integrated nature of WMS, OMS, and PO”), 170 (stating

 that Sterling made warranties as to the quality of the software, including regarding “the highly

 integrated nature of the software and the ability of that software to seamlessly integrate with

 JTV’s legacy system”). Saying that Sterling’s software is defective is another way to articulate

 that Sterling’s software was not of the quality and functionality represented by Sterling and could

 not meet JTV’s business needs. This is clearly part of JTV’s fraudulent inducement, promissory

 fraud, and negligent misrepresentations causes of action.




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        This Final Pretrial Order shall supplant the pleadings and is agreed upon by the parties as

 of April 18, 2017, Fed. R. Civ. P. 16; see U.S. v. Hougham, 364 U.S. 310, 315 (1960); see also

 Ricker v. Am. Zinser Corp., 506 F. Supp. 1 (E.D. Tenn. Sept. 11, 1978), aff’d, 633 F.2d 218 (6th

 Cir. 1980), without waiver of Sterling’s right to object to specific evidence or claims as being

 outside of JTV’s pleadings and prior disclosures.

        SO ORDERED.

                                                      _________________________________
                                                      TRAVIS R. MCDONOUGH
                                                      UNITED STATES DISTRICT JUDGE


 APPROVED AS TO FORM AS
 SUBSTANCE:




                                                 26


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                                  25057
                                            Exhibit A

                           Joint Stipulated Facts for Pre-Trial Order

   1.    During the licensing and implementation of Sterling Commerce’s products, JTV operated
         as a television shopping and internet network that markets brand name and private label
         products directly to its customers with its primary product lines being jewelry products,
         loose gem stone products and accessories. JTV’s business also included both direct sales
         and consignment sales.

   2.    Sterling Software was formed in 1975 and began operations by licensing Electronic Data
         Interchange (EDI) software. Through an initial public offering in March 1996, Sterling
         Commerce came into existence as a result of a spin off from Sterling Software and
         Sterling Commerce was incorporated in Ohio.

   3.    SBC Communications acquired Sterling Commerce in March 2000 and on November 18,
         2005, SBC Communications Inc. completed its acquisition of AT&T Corp and adopted
         AT&T as its name.

   4.    Yantra was formed in or around 1995.

   5.    JTV retained Keogh Consulting in or around April 2005 to advise about JTV’s proposed
         upgrades for the legacy software systems that handled JTV’s warehouse functions.

   6.    In early 2006, JTV, in collaboration with Keogh Consulting, solicited proposals for
         warehouse management software (WMS) from various software vendors.

   7.    In or around September 2006, Keogh Consulting – on behalf of JTV – submitted the RFP
         to Sterling for a WMS system.

   8.    In 2006, Sterling Commerce represented that it had the industry’s only “built-from-the-
         ground-up, service-oriented architecture.”

   9.    Sterling’s RFP response included several household names of other Sterling customers.

   10.   In June 2007, Bob White was assigned as Project Manager.

   11.   Sterling was aware that JTV would be using a Scrum/Agile Methodology on the JTV
         Project.




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                                  25058
                                             Exhibit B
             (List of JTV’s core exhibits objected to by Sterling and JTV’s responses)




                                             ii


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                                  25059
Plaintiff's Ex. No. Plaintiff's Description                             Bates Range          Defendant's Objection(s)                              Admitted   Denied   JTV Position on Sterling's Objection

P‐0023             Email RE: updated proposals pricing summary          JTV‐SC000171464 to   Optional completeness. FRE 106. Published only                            Agreed. JTV will publish -464
                   attaching WMS Proposals ‐ Executive Summary          ‐1473                ‐464.
                   2006‐10‐23.xls
P‐0067             Email re: JTV five year workloads and WMS project    JTV‐SC000174543 to   Irrelevant, FRE 402.                                                      Relevant - goes to JTV's need for a WMS system
                   template                                             ‐4544
P‐0073             "Wayne's World" Newsletter                           JTV‐SC000177477 to   Optional completeness. FRE 106 unless cover email                         Not aware of a cover email with this newsletter; please provide.
                                                                        ‐7482                included
P‐0086             Jewelry Television: CC Leadership Meeting” .ppt      JTV‐SC000181323 to   Optional completeness. FRE 106 unless paired with                         Agreed. P-0085 is the cover email
                   dated                                                ‐1346                P‐0085
                   1/14/08
P‐0097             Sterling OMS                                         JTV‐SC000184457 to   Optional completeness. FRE 106. Two                                       Agreed. JTV will publish the two attachments.
                                                                        ‐4457                attachments missing.
P‐0136 ‐ P‐0137    Email re: Recovery Plan and Status Charts for 3pm    JTV‐SC000197407 to   Optional completeness. FRE 106. Two                                       Agreed. JTV will publish the two attachments.
                   Meeting 1/3/2008 attaching Presentation slides re:   ‐7418                attachments missing.
                   Jewelry Television OMS/WMS/PO Project Recovery
                   Plan
P‐0158             Technology steering committee meeting,             JTV‐SC000207907 to     Optional completeness. FRE 106 unless cover email                         Which cover email?
                                                                      ‐7922                  included
P‐0162 ‐ P‐0163     Email RE: FW: Latest Project Plan attaching       JTV‐SC000212337 to     Optional completeness. FRE 106. Attachment                                Agreed. JTV will publish the attachment.
                    Implementation_Phase_Integrated_Project_Plan R2.0 ‐2338                  missing.
                    4Nov2007.mpp

P‐0163, P‐1487     tkr v 041513.xlsx                                    JTV‐SC000212338 to   Optional Completeness FRE106 and Misleading FRE                           JTV will publish the native version of P-0163. I don't understand the objection re
                                                                        ‐2338                403 re: P‐ 0163 ‐ native version was not published                        Authentication re P-1487.
                                                                                             and FRE 106 ‐missing JTV‐SC000212337 cover
                                                                                             email; Authentication FRE 901 re: P‐
                                                                                             1487 MMP files.


P‐0259             Memo from Bob Hall to all JTV Employees, dated       JTV‐SC000389737 to   Optional completeness. FRE 106. Attachment                                Agreed. JTV will publish the attachment.
                   5/11/2007                                            ‐9739                missing.
P‐0330             WMS Business Case Summary 2006.12.20                 JTV‐SC000694267 to   Optional Complete FRE 106 ‐ unless paired with                            P-329 attaches WMS Business Case 2006-1206.
                                                                        ‐4297                cover email P
                                                                                             329
P‐0358             Sterling’s Response to JTV’s RFP                     JTV‐SC000709251 to   Optional Completeness FRE 106                                             What is missing?
                                                                        ‐9307
P‐0425             Meystrik Depo Ex 01                                  JTV‐SC000789197 to   Irrelevant FRE 402                                                        Relevant - FRE 401(b); Loss of inventory not related to theft.
                                                                        ‐9256
P‐0463             QVC error codes                                      JTV‐SC000928700 to   Irrelevant, unfairly prejudicial. FRE 402, 403, see                       This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                        ‐8702                Defendant’s Motion in Limine (No. 2)




                                                                                                             1
                                                                        Case 3:09-cv-00143-TRM-HBG Document 702 Filed 04/18/17 Page 29 of 54 PageID #:
                                                                                                          25060
P‐0464            Java Source Code File: “This software is the        JTV‐SC000928868 to     Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Relevant, FRE 401(b).
                  confidential and proprietary information of QVC.”   ‐8878                  Defendant’s Motion in Limine (No. 2)

P‐0466            Email RE: RE: Sterling Meeting                      JTV‐SC000929679 to     Hearsay Within Hearsay FRE 805                        Statements showing the declarant's state of mind - FRE 803(3); business record.- FRE
                                                                      ‐9679                                                                        803(6)(B)
P‐0510            IT Steering Committee Notes                         JTV‐SC000958130 to     Hearsay Within Hearsay FRE 805                        Business Record.- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
                                                                      ‐8131
P‐0533            email from Chris Meystrik to Todd Trivette, dated   JTV‐SC001030978 to     Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Relevant, FRE 401(b). Not covered by MIL No. 2.
                  7/16/08.                                            ‐0979                  Defendant’s
                                                                                             Motion in Limine (No. 2)
P‐0535            07/28/2008 email from JTV’s George Willard to         JTV‐SC001032473 to   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Relevant, FRE 401(b). Relevant, FRE 401(b). Not
                  Sterling’s Suresh Pillai: “Please remove/rewrite/etc. ‐2473                Defendant’s Motion in Limine (No. 2)                  covered by MIL No. 2.
                  references to QVC in accordance with any applicable
                  copyrights from the . . .
                  files”


P‐0553 ‐ P‐0559   Implementation Phase                                JTV‐SC001156953 to     Optional Completeness FRE 106 ‐ missing cover         Can't locate JTV‐SC001156423; it wouldn't be a cover email to JTV‐SC001156953.
                  sterling commerce Implementation Phase SOW          ‐6994                  email JTV‐                                            There are many versions of the ISOW with cover emails.
                                                                                             SC001156423
                  2008.07.22 Email re: April Report to Board, June                                                                                 Agreed. JTV will publish the attchments.
                  Report to Board, May Report to Board, Report to the
                  Board of Directors on Bank Financing attaching
P‐0560            Report to the Board of Directors Regarding Status of JTV‐SC001157275 to    Optional Completeness FRE 106 ‐ No attachments
                  Bank Loan; Dave Boeschenstein is leaving             ‐7301
                  and


P‐0568 ‐ P‐0569   Stretch Pay Integration                             JTV‐SC001161235 to     P‐0569 not published                                  We will publish the native.
                                                                      ‐1248
P‐0582            Undated Planned Technology Roadmap with a           JTV‐SC001327776 to     Hearsay, FRE 802. Authentication, FRE 901.            Relevant - goes to JTV's damages.
                  Successful On‐                                      ‐7777                  Confusing,
                  time Sterling Implementation                                               misleading, FRE 403
P‐0583            Unndated Actual Technology Roadmap as a Result of JTV‐SC001327778 to       Hearsay, FRE 802. Authentication, FRE 901.            Relevant - goes to JTV's damages.
                  the                                               ‐7779                    Confusing,
                  Failed Sterling Implementation                                             misleading, FRE 403
P‐0584            JTV Employee Information Chart                    JTV‐SC001329636 to       Hearsay, FRE 802. Authentication, FRE 901.            Relevant - goes to JTV's damages.
                                                                    ‐9647                    Confusing,
                                                                                             misleading, FRE 403
P‐0585            Ryan McClurkin Analysis                             JTV‐SC001329736 to     Hearsay, FRE 802. Authentication, FRE 901.            Relevant - goes to JTV's damages.
                                                                      ‐9746                  Hearsay within
                                                                                             hearsay, FRE 805
P‐0588            Emai Subject: URGENT Question for Subroto           SCI0000440 to ‐0476    Irrelevant, FRE 402                                   "It is surprising that support has not been able to solve this issue yet." Relevant - 401(b)

P‐0589            Email RE: Tracking Risk associated with Partner     SCI0000548 to ‐0550    Irrelevant, FRE 402                                   Risk of partnering with Partner Development Team instead of GDC - Relevant - 401(b)
                  approach



                                                                                                           2
                                                                      Case 3:09-cv-00143-TRM-HBG Document 702 Filed 04/18/17 Page 30 of 54 PageID #:
                                                                                                        25061
P‐0590            Unknown                                                SCI0000803 to ‐0804   Hearsay within hearsay, FRE 805.                      Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
P‐0592            Email RE: Discuss Transition Plan from Subrato to Bob SCI0000942 to ‐0945    Hearsay within hearsay, FRE 805.                      Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.

P‐0597            Kerstin Smith SCI PS Project Performance Evaluation    SCI0002117 to ‐2117   Optional completeness. FRE 106 unless paired with     Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
                                                                                               P‐0596
P‐0599 ‐ P‐0603   Email RE: JTV documents attaching Jewelry TV ‐         SCI0002720 to ‐2790   Optional completeness. FRE 106. Attachment            We will publish attachment.
                  Services                                                                     missing.
                  Estimate 11‐13‐06.doc
P‐0606            open issues planning spreadsheet                       SCI0003496 to ‐3497   Optional Completeness FRE 106 ‐ No attachment         Will publish attachment

P‐0628            Email RE: please provide feedback on this ASAP         SCI0010997 to ‐0999   Hearsay within hearsay, FRE 805.                      Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.

P‐0630            e‐mail from Guy Read to Rich Jackson and Louis         SCI0011114 to ‐1114   Optional completeness. FRE 106. Attachment            We will publish attachment.
                  Burgin, dated                                                                missing.
                  2/16/08
P‐0632            Email RE: questions regarding cart pick                SCI0011227 to ‐1237   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                                               Defendant’s
                                                                                               Motion in Limine (No. 2). Hearsay within hearsay,
                                                                                               FRE 805
P‐0633            email from Suresh Pillai to Mahal Yashpal, dated       SCI0011244 to ‐1250   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                  1/18/08                                                                      Defendant’s
                                                                                               Motion in Limine (No. 2).
P‐0639            Email RE: Concerns about JTV > WMS RF Login            SCI0013907 to ‐3975   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                  customization                                                                Defendant’s
                                                                                               Motion in Limine (No. 2).
P‐0644            Email RE: Item Based Allocation Prototyping            SCI0015898 to ‐5902   Optional completeness. FRE 106. Attachment            We will publish attachment.
                                                                                               missing.
P‐0656            (“Guy, Yes. I agree with you that this thread [about   SCI0020444 to ‐0467   Irrelevant, confusing, misleading, unfairly           This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                  whether JTV might be another QVC] looks very                                 prejudicial. FRE 402; 403 re: QVC; See Motion in
                  provocative. . . .                                                           Limine No. 2
P‐0667            Email Subject: RE: JTV Update                          SCI0034401 to ‐4418   Hearsay within hearsay, FRE 805.                      Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
P‐0675            email RE: is JTV going to be another QVC?              SCI0035014 to ‐5016   Irrelevant, confusing, misleading, unfairly           This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                                               prejudicial. FRE
                                                                                               402; 403 re: QVC; See Motion in Limine No. 2

P‐0678            email from Madhaven to Read                            SCI0035255 to ‐5259   Irrelevant, confusing, misleading, unfairly           This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                                               prejudicial. FRE
                                                                                               402; 403 re: QVC; See Motion in Limine No. 2

P‐0682            Email Subject: RE: JTV update                          SCI0035808 to ‐5831   Hearsay within hearsay, FRE 805.                      Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
P‐0701            Concerns and Decisions                                 SCI0038217 to ‐8218   Hearsay within hearsay, FRE 805.                      This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.




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                                                                                                           25062
P‐0704   Email re: Suresh call on QVC project                  SCI0040780 to ‐0784   Irrelevant, confusing, misleading, unfairly             This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                                     prejudicial. FRE
                                                                                     402; 403 re: QVC; See Motion in Limine No. 2

P‐0706   Email re: Suresh call on QVC project                  SCI0041604 to ‐1607   Irrelevant, confusing, misleading, unfairly             This is not from the QVC Project. Revenat, FRE 401(b). Not covered by MIL No. 2.
                                                                                     prejudicial. FRE
                                                                                     402; 403 re: QVC; See Motion in Limine No. 2

P‐0707   Louis Burgin to Guy Read                              SCI0041787 to ‐1794   Hearsay within hearsay, FRE 805.                        Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
P‐0709   Please provide feedback on this ASAP shipment         SCI0042160 to ‐2162   Hearsay within hearsay, FRE 805.                        Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223.
         consolidation
P‐0710   e‐mail from Kerstin Smith to Suresh Pillai, dated     SCI0042172 to ‐2175   Irrelevant, unfairly prejudicial.                       E-mail directly reflects progress/impediments to progress on project. With regard to
         11/29/07                                                                    FRE 402, 403, see Defendant’s Motion in Limine          QVC mention, not covered by MIL No. 2.
                                                                                     (No. 2).
P‐0711   Suresh to Knoxville from QVC project                  SCI0042399 to ‐2401   Irrelevant, unfairly prejudicial.                       E-mail directly reflects assignment of resources on project. With regard to QVC
                                                                                     FRE 402, 403, see Defendant’s Motion in Limine          mention, not covered by MIL No. 2.
                                                                                     (No. 2).
P‐0712   Email Subject: configuration support                  SCI0043015 to ‐3016   Irrelevant, confusing, misleading, unfairly             1/2 of e-mail chain in Ex. 53. See response above.
                                                                                     prejudicial. FRE
                                                                                     402; 403 re: QVC; See Motion in Limine No. 2

P‐0714   email from Louis Burgin to Danilo Rodriguez, dated    SCI0044885 to ‐4885   Irrelevant, unfairly prejudicial. FRE 402, 403, see     E-mail reflects progress/changes to return-to-vendor processes for project. Business
         4/15/                                                                       Defendant’s                                             Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. With regard to QVC
                                                                                     Motion in Limine (No. 2). Hearsay within hearsay,
                                                                                                                                             mention, not covered by MIL No. 2.
                                                                                     FRE 805
P‐0717   Email re: pass onto product mgmt.‐request for         SCI0047475 to ‐7484   Irrelevant, confusing, misleading, unfairly             E-mail reflects truthfulness of voice picking representation/promise. With regard to QVC
         integration                                                                 prejudicial. FRE                                        mention, not covered by MIL No. 2.
                                                                                     402; 403 re: QVC; See Motion in Limine No. 2

P‐0768   Email string RE: WMS forecast                         SCI0064695 to ‐4697   Irrelevant, confusing. FRE 402, FRE 403                 E-mail reflects Sterling preparation of forecasting for JTV project.
P‐0769   Majumdar Ex. 30                                       SCI0065028 to ‐5038   Optional completeness. FRE 106 unless cover email       Document stands alone without cover e-mail. Notwithstanding, JTV will publish
                                                                                     included                                                attachment, if possible.
P‐0782   Email RE: JTV ‐ Business Case Summary Spreadsheet     SCI0067969 to ‐7972   Irrelevant, confusing. FRE 402, FRE 403                 E-mail shows Sterling preparation of ROI spreadsheet.
         attaching JTV Business Case Summary Final.xls



P‐0784   Conference Call RE: updated sequence of events        SCI0068385 to ‐8391   Irrelevant, FRE 402.                                    E-mail reflects timing of planning sessions.

P‐0785   Email RE: CP forecast                                 SCI0072806 to ‐2812   Misleading, unfarily prejudicial, confusing, FRE 403.   E-mail reflects internal SCI communication on project budget overruns with pared back
                                                                                                                                             implementation.
P‐0787   Email from Read to Jackson re: negative SCI project   SCI0073081 to ‐3082   Irrelevant, misleading, confusing, unfairly             E-mail reflects SCI mid-project evaluations of unskilled team members. Admissions of
         performance                                                                 prejudicial, FRE                                        SCI.
                                                                                     402, 403.




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P‐0788            Email RE: Happy New Year and turning ships             SCI0073198 to ‐3198   Misleading, unfarily prejudicial, confusing, FRE 403.   E-mail reflects SCI mid-project evaluations of project progress not going well.
                                                                                                                                                       Admissions of SCI.
P‐0801            Email RE: RE: Is JTV going to be another QVC ?         SCI0077819 to ‐7820   Irrelevant, unfairly prejudicial. FRE 402, 403, see     E-mail subject "Is JTV going to be another QVC?" dated 8/1/08 and reflects SCI's
                                                                                               Defendant's Motion in Limine (No 2) to exclude any      knowledge of poor project. Admissions of SCI. This e-mail is not from the QVC or Best
                                                                                               reference to QCV and
                                                                                                                                                       Buy project. Relevant, FRE 401(b). Not covered by MIL No. 2.
                                                                                               Best Buy after October 2007.

P‐0805            Status Report                                          SCI0078075 to ‐8076   Date wrong.                                             The Jury will see only the exhibit itself. The date on any filing can be corrected.

P‐0890            RE: Pass onto Product Mgmt ‐ Request for integration SCI0155942 to ‐5945     Optional completeness. FRE 106. Attachment              Email reflects no attachments to final message. JTV will evaluate whether attachment
                  with                                                                         missing.                                                produced by SCI.
                  VP application on behalf of JTV
P‐0901 ‐ P‐0902   Email re: December 21 Critical Care ‐ Engineering      SCI0158936 to ‐8969   Irrelevant, unfairly prejudicial. FRE 402, 403, see     Business Record - FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. With regard to
                  attaching Presentation slides re: Engineering Critical                       Defendant’s                                             QVC mention, not covered by MIL No. 2.
                  Care ‐ Customer Dashboard                                                    Motion in Limine (No. 2). Hearsay within hearsay,
                                                                                               FRE 805
P‐0903            Master Timeline‐Email from Regan about Mahal           SCI0164079 to ‐4080   Optional Completeness, FRE 106. Attachment              Email reflects no attachments to final message. JTV will evaluate whether attachment
                  failing to mention several weeks that Infosys needed                         missing.                                                produced by SCI.
                  more info
P‐0909            JTV Implementation Phase ‐02‐07‐08 ‐                   SCI0169821 to ‐9821   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0910            JTV Implementation Phase ‐02‐14‐08 ‐                   SCI0170205 to ‐0205   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0911            JTV Implementation Phase ‐02‐21‐08 ‐                   SCI0170363 to ‐0363   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0912            JTV Implementation Phase ‐02‐28‐08 ‐                   SCI0170619 to ‐0619   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0913            JTV Implementation Phase ‐03‐06‐08 ‐                   SCI0170839 to ‐0839   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0914            JTV Implementation Phase ‐03‐06‐08 ‐                   SCI0170842 to ‐0842   Not Published                                           Rule 26(e) production.
                  DASHBOARD.xls
P‐0919            Stelzer Email re: use this one for Sterling Costs      SCI0183669 to ‐3670   Optional completeness. FRE 106 unless                   Agreed. JTV will publish attachment.
                                                                                               spreadsheet attached
P‐0920 ‐ P‐0922   Unknown                                                SCI0183682 to ‐3686   Optional completeness. FRE 106 unless                   Rule 26(e) production. JTV will evaluate and, if necessary, publish attachment.
                                                                                               spreadsheet attached
                                                                                               (P‐0922 not published)
P‐0932 ‐ P‐0935   Email RE: New WebEx Link and Dial In Informaton        SCI0183844 to ‐3880   None to 932, 933. Not Published for 934. None to        Re 934, Rule 26(e) production
                  attaching "JTV Business Case Summary 5‐19‐07I.ppt,                           935
                  Solution Definition & Implementation Estimates
                  5‐17‐07.xls, image001.gif"

P‐0936 ‐ P‐0937   JTV Transformation Project a Business Case Summary SCI0183882 to ‐3912       Optional completeness. FRE 106. Attachment              Document stands alone and does not reference attachments. JTV will evaluate and, if
                                                                                               missing.                                                necessary, publish attachment.



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P‐0938 ‐ P‐0939   Giannoni’s Email RE: Need your 5 minute review of       SCI0183977 to ‐3983   Optional completeness. FRE 106. Attachment     Document stands alone. Simple automatic image attachment included.
                  ROI                                                                           missing.
                  nugget
P‐0979 ‐ P‐0980   Email RE: Follow up from JTV/Sterling Steering          SCI0190084 to ‐0085   Missing page, optional completenes, FRE 106.   JTV will review production and, if produced, will publish missing page.
                  Committee
                  Meeting of 11/28
P‐1053            JTV Implementation Phase ‐11‐29‐07 ‐                    SCI0219075 to ‐9075   Not Published                                  Rule 26(e) production.
                  DASHBOARD.xls
                  Email Subject: FW: Updated Slide and Financial Info ‐                                                                        Re 1056, Rule 26(e) production.
                  Attaching [Jewelry Television Project Steering
                  committee input December 6
P‐1054 ‐ P‐1056   2007.ppt] and [Budget plan forecast for                 SCI0219143 to ‐9152   None‐ Not Published 1056
                  Implementation phase for JTV
                  30Nov2007.xls]


P‐1057            JTV Implementation Phase ‐12‐13‐07 ‐                    SCI0219211 to ‐9211   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1058            JTV Implementation Phase ‐01‐31‐08 ‐                    SCI0219591 to ‐9591   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1059            JTV Implementation Phase ‐02‐14‐08 ‐                    SCI0219767 to ‐9767   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1061            JTV Implementation Phase ‐01‐24‐08 ‐                    SCI0221080 to ‐1080   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1062            JTV Implementation Phase ‐02‐07‐08 ‐                    SCI0221120 to ‐1120   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1063            JTV Implementation Phase ‐01‐03‐08 ‐                    SCI0222606 to ‐2606   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1064            JTV Implementation Phase ‐01‐17‐08 ‐                    SCI0222607 to ‐2607   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1065            JTV Implementation Phase ‐02‐07‐08 ‐                    SCI0222608 to ‐2608   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1066            JTV Implementation Phase ‐02‐21‐08 ‐                    SCI0222609 to ‐2609   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1067            JTV Implementation Phase ‐03‐06‐08 ‐                    SCI0222610 to ‐2610   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1068            JTV Implementation Phase ‐11‐08‐07 ‐                    SCI0222611 to ‐2611   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1069            JTV Implementation Phase ‐11‐29‐07 ‐                    SCI0222612 to ‐2612   Not Published                                  We will publish
                  DASHBOARD.xls
P‐1070            JTV Implementation Phase ‐12‐13‐07 ‐                    SCI0222613 to ‐2613   Not Published                                  We will publish
                  DASHBOARD.xls




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                                                                                                            25065
P‐1075   QVC's Florence Distribution Center report            QVC‐Sterling00000002 to Irrelevant, confusing, misleading, unfairly         Disagree. See JTV opposition to MIL No. 2.
                                                              ‐                       prejudicial. FRE
                                                              0003                    402, 403; See Defendant's Motion in Limine No. 2

P‐1076   Email RE: Sterling Commerce (QVC position on Issues) QVC‐Sterling00000012 to Irrelevant, confusing, misleading, unfairly         Disagree. See JTV opposition to MIL No. 2.
                                                              ‐                       prejudicial. FRE
                                                              0012                    402, 403; See Defendant's Motion in Limine No. 2

P‐1077   Email RE: Florence Sterling Performance Review and   QVC‐Sterling00000234 to Irrelevant, confusing, misleading, unfairly         These emails are relevant because they demonstrate that Sterling intended to defraud
         Multi‐                                               ‐                       prejudicial. FRE                                    JTV by making multiple and continued misrepresentations, with knowledge of the falsity
         Line update                                          0236                    402, 403; See Defendant's Motion in Limine No. 2;
                                                                                                                                          of those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          mention, not covered by MIL No. 2.

P‐1078   Universal Software License                           QVC‐Sterling00000271 to Irrelevant, confusing, misleading, unfairly         The contract is relevant to demonstrate that Sterling intended to defraud JTV by making
                                                              ‐                       prejudicial. FRE                                    multiple and continued misrepresentations, with knowledge of the falsity of those
                                                              0275                    402, 403; See Defendant's Motion in Limine No. 2;
                                                                                                                                          statements, and omissions of material fact, before and after the contracts were signed. It
                                                                                                                                          also demonstrates causation and to rebut Sterling’s sixth affirmative defense that the
                                                                                                                                          damage JTV suffered was self-inflicted since QVC and JTV used relatively the same
                                                                                                                                          software. The probative value substantially outweighs any prejudice. With regard to
                                                                                                                                          QVC mention, not covered by MIL No. 2.

P‐1079   Addendum to Universal Software License Agreement QVC‐Sterling00000276 to Irrelevant, confusing, misleading, unfairly             The contract is relevant to demonstrate that Sterling intended to defraud JTV by making
                                                          ‐                       prejudicial. FRE                                        multiple and continued misrepresentations, with knowledge of the falsity of those
                                                          0280                    402, 403; See Defendant's Motion in Limine No. 2;
                                                                                                                                          statements, and omissions of material fact, before and after the contracts were signed. It
                                                                                                                                          also demonstrates causation and to rebut Sterling’s sixth affirmative defense that the
                                                                                                                                          damage JTV suffered was self-inflicted since QVC and JTV used relatively the same
                                                                                                                                          software. The probative value substantially outweighs any prejudice. With regard to
                                                                                                                                          QVC mention, not covered by MIL No. 2.

P‐1080   UNIVERSAL SOFTWARE LICENSE AGREEMENT                 QVC‐Sterling00000281 to Irrelevant, confusing, misleading, unfairly         The contract is relevant to demonstrate that Sterling intended to defraud JTV by making
                                                              ‐                       prejudicial. FRE                                    multiple and continued misrepresentations, with knowledge of the falsity of those
                                                              0283                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                          statements, and omissions of material fact, before and after the contracts were signed. It
                                                                                                                                          also demonstrates causation and to rebut Sterling’s sixth affirmative defense that the
                                                                                                                                          damage JTV suffered was self-inflicted since QVC and JTV used relatively the same
                                                                                                                                          software. The probative value substantially outweighs any prejudice. With regard to
                                                                                                                                          QVC mention, not covered by MIL No. 2.




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P‐1081   Implementation Statement of Work with Sterling for QVC‐Sterling00000285 to Irrelevant, confusing, misleading, unfairly              This document is relevant to demonstrate that Sterling intended to defraud JTV by
         the                                                ‐                       prejudicial. FRE                                         making multiple and continued misrepresentations, with knowledge of the falsity of those
         implementation of nWMS                             0291                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                             statements, and omissions of material fact, before and after the contracts were signed.
                                                                                                                                             The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.

P‐1082   Sterling provided QVC with its Request for Proposal   QVC‐Sterling00000609 to Irrelevant, confusing, misleading, unfairly           This document is relevant to demonstrate that Sterling intended to defraud JTV by
         Response                                              ‐                       prejudicial. FRE                                      making multiple and continued misrepresentations, with knowledge of the falsity of those
         and also recommended its new nWMS                     0660                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                             statements, and omissions of material fact, before and after the contracts were signed.
                                                                                                                                             The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.

P‐1083   Email RE: Sterling issues attaching John J. Sullican.vcf QVC‐Sterling00000814 to Irrelevant, confusing, misleading, unfairly        This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                  ‐                       prejudicial. FRE                                   by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                  0815                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                             those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                             signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.

P‐1084   May 1, 2008 email from Jeff Edison to John Sullivan   QVC‐Sterling00000821 to Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                               ‐                       Defendant’s                                           by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                               0821                    Motion in Limine (No. 2)
                                                                                                                                             those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                             signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.

P‐1085   Email RE: Sterling Software                           QVC‐Sterling00000824 to Irrelevant, confusing, misleading, unfairly           This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                               ‐                       prejudicial. FRE                                      by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                               0824                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                             those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                             signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.

P‐1086   Email RE: Florence Sterling Performance Review and    QVC‐Sterling00000825 to Irrelevant, confusing, misleading, unfairly           These emails are relevant because they demonstrate that Sterling intended to defraud
         Multi‐                                                ‐                       prejudicial. FRE                                      JTV by making multiple and continued misrepresentations, with knowledge of the falsity
         line Update                                           0826                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                             of those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                             signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                             mention, not covered by MIL No. 2.




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P‐1087            Email RE: Sterling Test Results                        QVC‐Sterling00000830 to Irrelevant, unfairly prejudicial. FRE 402, 403, see      This email is relevant because it demonstrates that Sterling intended to defraud JTV by
                                                                         ‐                       Defendant’s                                              making multiple and continued misrepresentations, with knowledge of the falsity of those
                                                                         0830                    Motion in Limine (No. 2)
                                                                                                                                                          statements, and omissions of material fact, before and after the contracts were signed.
                                                                                                                                                          The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                                          mention, not covered by MIL No. 2.

P‐1088            Email RE: Sterling Issue Talking Points attaching      QVC‐Sterling00000834 to Irrelevant, confusing, misleading, unfairly              This email and attachment show issues with Sterling's software. They are relevant
                  Sterling                                               ‐                       prejudicial. FRE                                         because they demonstrate that Sterling intended to defraud JTV by making multiple and
                  Issues 081105.doc                                      0836                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                                          continued misrepresentations, with knowledge of the falsity of those statements, and
                                                                                                                                                          omissions of material fact, before and after the contracts were signed. The probative
                                                                                                                                                          value substantially outweighs any prejudice. With regard to QVC mention, not covered
                                                                                                                                                          by MIL No. 2.
P‐1089            email from John Hartz to John Sullivan                 QVC‐Sterling00000892 to Irrelevant, confusing, misleading, unfairly              This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                         ‐                       prejudicial. FRE                                         by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                         0899                    402, 403; See Defendant's Motion in Limine No. 2
                                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                                          mention, not covered by MIL No. 2.

P‐1090            Schedule No. 1 to Universal Software License           SCI0229607 to ‐9611        Irrelevant, FRE 402                                   The contract is relevant to demonstrate that Sterling intended to defraud JTV by making
                  Agreement                                                                                                                               multiple and continued misrepresentations, with knowledge of the falsity of those
                  dated 11/03/06
                                                                                                                                                          statements, and omissions of material fact, before and after the contracts were signed. It
                                                                                                                                                          also demonstrates causation and to rebut Sterling’s sixth affirmative defense that the
                                                                                                                                                          damage JTV suffered was self-inflicted since QVC and JTV used relatively the same
                                                                                                                                                          software.
P‐1091 ‐ P‐1092   Email RE: Best Buy is LIVE with Sterling Store Order   SCI0231483 to ‐1490        Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                  Management PCA & DOM                                                              Defendant's Motion in Limine (No 2) to exclude any    by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                                                    reference to QCV and
                                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                                    Best Buy after October 2007.
                                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1105            Planned Technology Roadmap                             JTV‐SC001330759 to         Irrelevant 402 (Published exhibit does is not the     Agreed. JTV will review and correct as needed.
                                                                         ‐0826                      Planned Technology Roadmap but the Employment
                                                                                                    Records of Dustin
                                                                                                    Cole)
P‐1121            2013 Customer Satisfaction Benchmark Survey            JTV‐SC001334660 to         Hearsay, FRE 802. Authentication, FRE 901.            Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                                         ‐4700                      Confusing,                                            stipulated that all documents produced in discovery are authentic; Covered by
                                                                                                    misleading, FRE 403
                                                                                                                                                          Stipulation, Dkt. # 223. The probative value of this relevant document substantially
                                                                                                                                                          outweighs any prejudice, confusion or risk of misleading the jury.




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P‐1122            email RE: urgent QVC SWAT TEAM MEETING      SCI0321323 to ‐1324   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                                    Defendant's Motion in Limine (No 2) to exclude any    by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                                    reference to QCV and
                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                    Best Buy after October 2007.
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1124            EXP‐ Phase I Report for QVC Florence        SCI0332225 to ‐2285   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                                    Defendant's                                           by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                                    Motion in Limine (No 2) to exclude any reference
                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                    to QCV and Best Buy after October 2007.
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1125            EXP‐ Phase II Report for QVC Florence       SCI0332286 to ‐2303   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                                    Defendant's Motion in Limine (No 2) to exclude any    by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                                    reference to QCV and
                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                    Best Buy after October 2007.
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1126            EXP‐ Phase III Report for QVC Florence      SCI0332312 to ‐2337   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                                                                                    Defendant's                                           by making multiple and continued misrepresentations, with knowledge of the falsity of
                                                                                    Motion in Limine (No 2) to exclude any reference
                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                    to QCV and Best Buy after October 2007.
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1127            Undated Sterling QVC Document 2007.04.30;   SCI0332818 to ‐2821   Irrelevant, unfairly prejudicial. FRE 402, 403, see   This document is relevant because it demonstrates that Sterling intended to defraud JTV
                  "StatusReport.zip/QVC                                             Defendant's Motion in Limine (No 2) to exclude any    by making multiple and continued misrepresentations, with knowledge of the falsity of
                  Briefing_May0708.doc2007.04.30"                                   reference to QCV and
                                                                                                                                          those statements, and omissions of material fact, before and after the contracts were
                                                                                    Best Buy after October 2007.
                                                                                                                                          signed. The probative value substantially outweighs any prejudice. With regard to QVC
                                                                                                                                          and Best Buy mention, not covered by MIL No. 2.

P‐1173            Actual Technology Roadmap                   JTV‐SC001337092 to    Hearsay, FRE 802. Authentication, FRE 901.            Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                              ‐7093                 Prejudical,                                           stipulated that all documents produced in discovery are authentic; Covered by
                                                                                    misleading and confusing, FRE 403. FRE 702
                                                                                                                                          Stipulation, Dkt. # 223. The probative value of this relevant document substantially
                                                                                                                                          outweighs any prejudice, confusion or risk of misleading the jury. Damages - relied upon
                                                                                                                                          by expert - Rule 26(e).
P‐1174 ‐ P‐1190   meeting notes re: IT JTV                    JTV‐SC001337094 to    Hearsay, FRE 802. Authentication, FRE 901.            Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                              ‐7110                 Document                                              stipulated that all documents produced in discovery are authentic; Covered by
                                                                                    illegible.
                                                                                                                                          Stipulation, Dkt. # 223. JTV disagrees as to illegibility. Handwriting is legible.



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P‐1192 ‐ P‐1213   Development Team Materials                 SCI0334390 to ‐4489   P‐1192 Not Published; Confusing, misleading, FRE     Rule 26(e) production. The probative value of these documents substantially outweighs
                                                                                   403;                                                 any potential prejudice, confusion or risk of misleading the jury. Parties have stipulated
                                                                                   Authentication FRE 901
                                                                                                                                        that all documents produced in discovery are authentic; Covered by Stipulation, Dkt. #
                                                                                                                                        223.
P‐1214 ‐ P‐1237   Development Team Materials                 SCI0334494 to ‐4588   Confusing, misleading, FRE 403; Authentication FRE   These documents are relevant because they demonstrate that Sterling intended to defraud
                                                                                   901                                                  JTV by making multiple and continued misrepresentations, with knowledge of the falsity
                                                                                                                                        of those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                        signed. The probative value of these documents substantially outweighs any potential
                                                                                                                                        prejudice, confusion or risk of misleading the jury. Parties have stipulated that all
                                                                                                                                        documents produced in discovery are authentic; Covered by Stipulation, Dkt. # 223.


P‐1238 ‐ P‐1244   Development Team Materials                 SCI0334641 to ‐5019   Confusing, misleading, FRE 403; Authentication FRE   These documents are relevant because they demonstrate that Sterling intended to defraud
                                                                                   901                                                  JTV by making multiple and continued misrepresentations, with knowledge of the falsity
                                                                                                                                        of those statements, and omissions of material fact, before and after the contracts were
                                                                                                                                        signed. The probative value of these documents substantially outweighs any potential
                                                                                                                                        prejudice, confusion or risk of misleading the jury. Parties have stipulated that all
                                                                                                                                        documents produced in discovery are authentic; Covered by Stipulation, Dkt. # 223.


P‐1246            2009 and 2010 Consolidated Trial Balance   JTV‐SC001340380 to    Hearsay, FRE 802. Authentication, FRE 901.           Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐0401                 Prejudical,                                          stipulated that all documents produced in discovery are authentic; Covered by
                                                                                   misleading and confusing, FRE 403. FRE 702
                                                                                                                                        Stipulation, Dkt. # 223. The probative value of this relevant document substantially
                                                                                                                                        outweighs any prejudice, confusion or risk of misleading the jury. Damages - relied upon
                                                                                                                                        by expert - Rule 26(e).
P‐1249            Site Visit interview                       SCI0346989 to ‐6993   Optional completeness, FRE 106. Hearsay, FRE 802.    This is a transcript of expert interview notes, not a document. Business Record -- FRE
                                                                                   Irrelevant, Undue prejudice, FRE 402, 403.           803(6)(B); Covered by Stipulation, Dkt. # 223. These documents are relevant because
                                                                                   Defendant's Motion in Limine (No. 2) to exclude
                                                                                                                                        they demonstrate that Sterling intended to defraud JTV by making multiple and
                                                                                   references to QVC
                                                                                                                                        continued misrepresentations, with knowledge of the falsity of those statements, and
                                                                                                                                        omissions of material fact, before and after the contracts were signed. The probative
                                                                                                                                        value of these documents substantially outweighs any potential prejudice, confusion or
                                                                                                                                        risk of misleading the jury. With regard to QVC mention, not covered by MIL No. 2.


P‐1251            Charlie Wagner Exhibit No [10]             N/A to ‐N/A           Hearsay, FRE 802. Confusing, misleading, FRE 403     This is an objection to the extent Sterling wants to use the 30(b)(6) testimony.

P‐1252            Charlie Wagner Exhibit No [12]             N/A to ‐N/A           Hearsay, FRE 802. Confusing, misleading, FRE 403     This is a verification to interrogatories.




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P‐1273   Actual Technology Roadmap                           JTV‐SC001332835 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐2838                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1275   High Level Commentary Corresponding with Sales      JTV‐SC001340438 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
         Levels                                              ‐0440                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1277   AOS follow up analysis                              JTV‐SC001340443 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐0448                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1278   Business Intelligence Impacts as a Result of the    JTV‐SC001340449 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
         Sterling                                            ‐0464                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
         failure                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1279   AOS facts Scott Bayley May Assume as True           JTV‐SC001340465 to   Hearsay, FRE 802, Authentication, FRE 901,   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐0466                Prejudical and                               stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  Confusing, FRE 403, FRE 702. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice or confusion . Damages - relied upon by expert - Rule 26(e).

P‐1280   Stretch Pay Facts Scott Bayley May Assume as True   JTV‐SC001340470 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐0471                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1281   Actual Technology Roadmap                           JTV‐SC001340495 to   Hearsay, FRE 802. Authentication, FRE 901.   Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                             ‐0496                Prejudical,                                  stipulated that all documents produced in discovery are authentic; Covered by
                                                                                  misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).




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P‐1282   Factors Contributing to Inventory Shrinkage    JTV‐SC001340508 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐0511                Prejudical,                                       stipulated that all documents produced in discovery are authentic; Covered by
                                                                             misleading and confusing, FRE 403. FRE 702
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                               expert - Rule 26(e).
P‐1283   Historic Moneyball Data.csv                    JTV‐SC001340512 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐0512                Prejudical,                                       stipulated that all documents produced in discovery are authentic; Covered by
                                                                             misleading and confusing, FRE 403.
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury.

P‐1284   email re Sterling Commerce (QVC position)      JTV‐SC001340598 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐0598                Prejudical, misleading and confusing, FRE 403.    stipulated that all documents produced in discovery are authentic; Covered by
                                                                             (Published exhibit does Not Match Description ‐
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                             Metrics for Sterling Model ‐ Sept 19,
                                                                             2012)                                             potential prejudice, confusion or risk of misleading the jury. Agreed as to description of
                                                                                                                               exhibit. JTV will review and correct as needed.

P‐1285   Inputs for shipping rates in damages model.    JTV‐SC001340599 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐0610                Hearsay within Hearsay, FRE 805. Prejudical,      stipulated that all documents produced in discovery are authentic; Covered by
                                                                             misleading and confusing, FRE
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                             403. Document illegible.
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. JTV will consider
                                                                                                                               producing a cleaner copy.
P‐1286   FY 2009 JTV Trial Balance                      JTV‐SC001341174 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐1191                Hearsay within Hearsay, FRE 805. Prejudical,      stipulated that all documents produced in discovery are authentic; Covered by
                                                                             misleading and confusing, FRE
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                             403.
                                                                                                                               potential prejudice, confusion or risk of misleading the jury.

P‐1287   Regressions and Margin Co efficients for the   JTV‐SC001342614 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
         Moneyball                                      ‐2706                Prejudical,                                       stipulated that all documents produced in discovery are authentic; Covered by
         Model                                                               misleading and confusing, FRE 403.
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury.

P‐1288   JTV IT Salaries                                JTV‐SC001342842 to   Hearsay, FRE 802. Authentication, FRE 901.        Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                        ‐2909                Prejudical, misleading and confusing, FRE 403.    stipulated that all documents produced in discovery are authentic; Covered by
                                                                             Motion in Limine No. 4
                                                                                                                               Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                                                               potential prejudice, confusion or risk of misleading the jury. See JTV's Response to MIL
                                                                                                                               No. 4, Dkt. # 679.




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P‐1289   1.a.1. Shipping Consolidation Saves in Original   JTV‐SC001342912 to   Hearsay, FRE 802. Hearsay within hearsay, FRE          Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
         Model.xls                                         ‐2912                805.                                                   stipulated that all documents produced in discovery are authentic; Covered by
                                                                                Authentication, FRE 901. Prejudical, misleading and
                                                                                                                                       Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                confusing, FRE 403.
                                                                                                                                       potential prejudice, confusion or risk of misleading the jury.

P‐1290   Survey of Shipping Times                          JTV‐SC001342913 to   Hearsay, FRE 802. Authentication, FRE 901.             Business Record -- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223. Parties have
                                                           ‐2917                Hearsay with in hearsay, FRE 805. Prejudical,          stipulated that all documents produced in discovery are authentic; Covered by
                                                                                misleading and confusing, FRE
                                                                                                                                       Stipulation, Dkt. # 223. This document's probative value substantially outweighs any
                                                                                403. FRE 702
                                                                                                                                       potential prejudice, confusion or risk of misleading the jury. Damages - relied upon by
                                                                                                                                       expert - Rule 26(e).
P‐1291   Unknown                                           JTV‐SC001342927 to   Hearsay, FRE 802. Hearsay within hearsay, FRE          Damages - relied upon by expert - Rule 26(e)
                                                           ‐2934                805.
                                                                                Authentication, FRE 901
P‐1292   Unknown                                           JTV‐SC001342935 to   Hearsay, FRE 802. Hearsay within hearsay, FRE          Damages - relied upon by expert - Rule 26(e)
                                                           ‐2937                805.
                                                                                Authentication, FRE 901
P‐1293   Unknown                                           JTV‐SC001342938 to   Hearsay, FRE 802. Authentication, FRE 901              Damages - relied upon by expert - Rule 26(e)
                                                           ‐2945
P‐1294   WMS validation.                                   JTV‐SC001342946 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - expert work product - not illegible
                                                           ‐2981                Document illegible. Prejudical, misleading and
                                                                                confusing, FRE 403.
P‐1295   Cost Savings From Elimination of Paper Tickets    JTV‐SC001342982 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - relied upon by expert - Rule 26(e)
                                                           ‐3006                Prejudical,
                                                                                misleading and confusing, FRE 403.
P‐1296   Common Schema Facts That Scott Bayley             JTV‐SC001343011 to   Hearsay, FRE 802. Authentication, FRE 901.             FRE 703 - Facts Relied Upon by Exert
                                                           ‐3016                Document
                                                                                illegible. Prejudical, misleading and confusing, FRE
                                                                                403. FRE 702
P‐1297   Undated Information regarding the company         JTV‐SC001343017 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - relied upon by expert - Rule 26(e)
                                                           ‐3019                Prejudical,
                                                                                misleading and confusing, FRE 403.
P‐1298   Payments to Third Party Vendors                   JTV‐SC001343029 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - payment to third party vendors - relied upon by expert - Rule 26(e)
                                                           ‐3033                Prejudical,
                                                                                misleading and confusing, FRE 403.
P‐1299   Profit Conversion Factors                         JTV‐SC001343040 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - verification of payments to thrid party vendors and others - relied upon by
                                                           ‐3057                Prejudical,                                            expert - Rule 26(e)
                                                                                misleading and confusing, FRE 403.
P‐1300   Actual Technology Roadmap Matrix                  JTV‐SC001343060 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - schedule and expenses - relied upon by expert - Rule 26(e)
                                                           ‐3114                Prejudical,
                                                                                misleading and confusing, FRE 403.
P‐1301   Andrew R Script (methodology for multivariate     JTV‐SC001343276 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - regression analysis script - relied upon by expert - Rule 26(e)
         regression)                                       ‐3276                Prejudical,
                                                                                misleading and confusing, FRE 403.



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P‐1302   Second AOS follow up                                  JTV‐SC001343277 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - expert work product - relied upon by expert - Rule 26(e )
                                                               ‐3277                Prejudical,
                                                                                    misleading and confusing, FRE 403.
P‐1303   Updated Actual Technology Roadmap                     JTV‐SC001502319 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - relied upon by expert - Rule 26(e)
                                                               ‐2319                Document illegible. Prejudical, misleading and
                                                                                    confusing, FRE 403. FRE
                                                                                    702
P‐1304   Email from Chip Niemann to Kim Griffin regarding      JTV‐SC001502424 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - relied upon by expert - Rule 26(e)
         “JTV Conference Call                                  ‐2427                Prejudical, misleading and confusing, FRE 403.
         with Ryan McClurkin” attaching “Fiscal Dates”                              Date wrong

P‐1305   Sterling Installed Software                           JTV‐SC001503498 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - relied upon by expert - Rule 26(e)
                                                               ‐3498                Prejudical,
                                                                                    misleading and confusing, FRE 403.
P‐1306   JTV observations of functionalities not provided by   JTV‐SC001503499 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - relied upon by expert - Rule 26(e)
         the                                                   ‐3499                Prejudical,
         Sterling software                                                          misleading and confusing, FRE 403.
P‐1307   Partial Benefit of Shipping Machine Automation        JTV‐SC001503500 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - relied upon by expert - Rule 26(e)
                                                               ‐3500                Prejudical,
                                                                                    misleading and confusing, FRE 403.
P‐1308   Benefits Analysis                                     JTV‐SC001503501 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - expert work procuct - Rule 26(e)
                                                               ‐3501                Prejudical,
                                                                                    misleading and confusing, FRE 403.
P‐1309   Partial benefits analysis                             JTV‐SC001503502 to   Hearsay, FRE 802. Authentication, FRE 901.            Damages - expert work procuct - Rule 26€
                                                               ‐3502                Prejudical,
                                                                                    misleading and confusing, FRE 403.
P‐1310   Lambert Ex. 01                                        N/A to ‐N/A          Not produced, FRCP 37(c)(1)                           Lambert Ex. 1 is the RFP
P‐1313   Charlie Wagner Exhibit [Wagner, Charlie]              N/A to ‐N/A          Hearsay, FRE 802                                      We will withdraw this exhibit.
         Defendant's objections and responses to Plaintiff's                        Irrelevant, confusing, misleading, unfairly           Answers to interrogatories are admissible at trial. FRCP 33(c); FRE 801(d)(2)(A)
         first set of interrogatories                                               prejudicial. FRE 402, 403; See Defendant's Motion
                                                                                    in Limine No. 2; Late produced, FRCP 37(c)(1), Dkt.
                                                               JTV‐SC002001134 to   612 at 12 ("any information Plaintiff attempts to
P‐1314
                                                               ‐1137                rely upon a trial that was not provided
                                                                                    to Defendant cannot be used")


P‐1316   JTV Operations Video including historical photos      JTV‐SC002001167 to   Hearsay, FRE 802. Authentication, FRE 901. Late       Demonstrative.
                                                               ‐1167                produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                    information Plaintiff attempts to rely upon a trial
                                                                                    that was not provided to
                                                                                    Defendant cannot be used").




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P‐1317            Year in Review and Results                           JTV‐SC002001168 to   Hearsay, FRE 802. Authentication, FRE 901. Late       Damages - relied upon by expert - Rule 26€
                                                                       ‐1168                produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                            information Plaintiff attempts to rely upon a trial
                                                                                            that was not provided to
                                                                                            Defendant cannot be used").


P‐1318            PowerPoint ‐ Software Engineering RE: 2006           JTV‐SC002001169 to   Hearsay, FRE 802. Authentication, FRE 901. Late       Damages - relied upon by expert - Rule 26€
                  Completed Projects of JTV                            ‐1175                produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                            information Plaintiff attempts to rely upon a trial
                                                                                            that was not provided to
                                                                                            Defendant cannot be used").


P‐1319            JTV Timeline Prepared at the Request of Bob Hall /   JTV‐SC002001176 to   Hearsay, FRE 802. Authentication (first page), FRE    Damages - relied upon by expert - Rule 26(e)
                  October 1993 ‐ 2019                                  ‐1191                901. Late produced, FRCP 37(c)(1), Dkt. 612 at 12
                                                                                            ("any information Plaintiff attempts to rely upon a
                                                                                            trial that was not provided
                                                                                            to Defendant cannot be used").


P‐1320 ‐ P‐1323   Technology Software Roadmap and Future               JTV‐SC002001192 to   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Damages - relied upon by expert - Rule 26(e)
                  Projections, Inbound Planning and Processing         ‐1197                Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                            to rely upon a trial that was not provided to
                                                                                            Defendant cannot be used")

P‐1321            Updated Technology Roadmap (Oct 2016)                JTV‐SC002001193 to   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Damages - relied upon by expert - Rule 26.e
                                                                       ‐1195                Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                            to rely upon a trial that was not provided to
                                                                                            Defendant cannot be used")

P‐1322            JTV Operations Flow Chart                            JTV‐SC002001196 to   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Demonstrative - Damages - relied upon by expert - Rule 26.e
                                                                       ‐1196                Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                            to rely upon a trial that was not provided to
                                                                                            Defendant cannot be used")

P‐1323            Schematic / JTV PO and WMS Processes Under the       JTV‐SC002001197 to   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Demonstrative - Damages - relied upon by expert - Rule 26.e
                  Sterling Installed Software                          ‐1197                Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                            to rely upon a trial that was not provided to
                                                                                            Defendant cannot be used")

P‐1324 ‐ P‐1325   Sterling Commerce OMS, PO, WMS Project JTV           JTV‐SC002001198 to   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Damages - relied upon by expert - implementation estimate - previously produced by
                  Resource Implementation Estimate                     ‐1211                Dkt. 612 at 12 ("any information Plaintiff attempts   Sterling.
                                                                                            to rely upon a trial that was not provided to
                                                                                            Defendant cannot be used")




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P‐1325            Budget Documents regarding the cost of JTV               JTV‐SC002001199 to        Hearsay, FRE 802. Authentication, FRE 901. Late       Damages - relied upon by expert - implementation estimate - previously produced by
                  Participation in the Sterling Project, as incorporated   ‐1211                     produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any         Sterling.
                  into the Business Case                                                             information Plaintiff attempts to rely upon a trial
                                                                                                     that was not provided to
                                                                                                     Defendant cannot be used").


P‐1326 ‐ P‐1332   Project Resources Graph                                  JTV‐SC002001212 to        Hearsay, FRE 802. Authentication, FRE 901. Late       Damages - amounts paid to Sterling - JTV employees assigned to the project - Rule 26.e -
                                                                           ‐1220                     produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any         relied upon by expert
                                                                                                     information Plaintiff attempts to rely upon a trial
                                                                                                     that was not provided to
                                                                                                     Defendant cannot be used").


P‐1327            Compilation of SCI Resources Working on the Project JTV‐SC002001213 to             Hearsay, FRE 802. Authentication, FRE 901. Late       Compilation - Damages - amounts paid to Sterling - based on Sterling invoices - relied
                  from April 2007‐October 2008 (per SCI invoices)     ‐1214                          produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any         upon by expert - Rule 26.e
                                                                                                     information Plaintiff attempts to rely upon a trial
                                                                                                     that was not provided to
                                                                                                     Defendant cannot be used").


P‐1328            Compilation of Information Regarding JTV Resources JTV‐SC002001215 to              Hearsay, FRE 802. Authentication, FRE 901. Late       Compilation - Damages - internal resources - based on previously produced materials -
                  Working on SCI Project from May 2007‐Oct 2008      ‐1215                           produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any         relied upon by expert - Rule 26.e
                                                                                                     information Plaintiff attempts to rely upon a trial
                                                                                                     that was not provided to
                                                                                                     Defendant cannot be used").


P‐1330            Compilation: Financial and Business Information          JTV‐SC002001218 to        Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Compilation - Damages - financial and business information - based on previously
                  spreadsheet                                              ‐1218                     Dkt. 612 at 12 ("any information Plaintiff attempts   produced materials - relied upon by expert - Rule 26.e
                  / 1997‐2016 / from audited financial statements                                    to rely upon a trial that was not provided to
                                                                                                     Defendant cannot be used")

                  COLLECTIVE EXHIBIT OF INFORMATION AND                    JTV‐SC002001221 to JTV‐   Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Compilation - Damages - relied upon by expert - Rule 26.e
                  COMPLIATIONS RE JTV’S PRE‐STERLING BUDGET FOR            SC002001225; JTV‐         Dkt. 612 at 12 ("any information Plaintiff attempts
                  TIME AND RESOURCES FOR COMPLETION OF                     SC002001443 to JTV‐       to rely upon a trial that was not provided to
P‐1333, P‐1349,   PROJECTS ON IT ROADMAP BETWEEN 1/1/07 AND Q2             SC002001458; JTV‐         Defendant cannot be used")
P‐135             OF FY10                                                  SC002001497 to JTV‐
                                                                           SC002001522 to ‐


P‐1334            Number of JTV shipments / 2002‐2016                      JTV‐SC002001226 to        Hearsay, FRE 802. Authentication, FRE 901. Late       Summary - FRE 1006 - Damages - relied upon by expert - Rule 26.e - based on
                                                                           ‐1226                     produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any         previously produced materials
                                                                                                     information Plaintiff attempts to rely upon a trial
                                                                                                     that was not provided to
                                                                                                     Defendant cannot be used").




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P‐1335            JTV average employee headcount / 2000 ‐ 2016         JTV‐SC002001227 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Summary - FRE 1006 - Damages - relied upon by expert - Rule 26.e - based on
                                                                       ‐1227                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any          previously produced materials
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


P‐1336 ‐ P‐1337   Audited Income Statement and Other Financial         JTV‐SC002001228 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Summary - FRE 1006 - Damages - Audited Income Statement and Other Financial
                  Metrics                                              ‐1229                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any          Metrics - based on previously produced materials.
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


P‐1338            Compilation of completed JTV software projects /     JTV‐SC002001230 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Damages - schedule and expenses -Rule 26(e)
                  October 2008‐October 2016                            ‐1235                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


P‐1340            DEFENDANT'S OBJECTIONS AND RESPONSES TO              JTV‐SC002001308 to     Plaintiff's Interrogatory No. 2 is irrelevant,         Answers to interrogatories are admissible at trial. FRCP 33(c); FRE 801(d)(2)(A)
                  PLAINTIFF'S FIRST SET OF INTERROGATORIES             ‐1325                  confusing,
                                                                                              misleading, unfairly prejudicial. FRE 402, 403; See
                                                                                              Defendant's Motion in Limine No. 2

P‐1342            3‐19‐2017 Supplement‐Concordance: Brief in Support   JTV‐SC002001343 to     Optional Completeness, FRE 106                         We will publish the entire brief.
                  of                                                   ‐1344
                  Motion
P‐1343 ‐ P‐1345   STERLING PROJECT DAMAGES: IMPACTS RESULTING          JTV‐SC002001345 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Damages - Relied Upon by Expert - Rule 26.e
                  FROM LOST OR DELAYED FEATURES                        ‐1399                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


                  JTV Limited Offer to Purchase, April 17, 2015, Section                      Hearsay, FRE 802. Authentication, FRE 901.             We will publish the entire document - Damages - Relied upon by Expert - Rule 26.e+
                  Entitled “Information Regarding the Company” and                            Optional completeness, FRE 106. Late produced,
                  “The Company’s Business Plans and Recent                                    FRCP 37(c)(1), Dkt. 612 at 12 ("any information
                  Developments”                                          JTV‐SC002001400 to   Plaintiff attempts to rely upon a trial that was not
P‐1346
                                                                         ‐1403                provided to Defendant cannot be used").
                                                                                              Misleading, confusing, FRE 403.




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P‐1347            Revised Preliminary, Non‐Expert Computation of    JTV‐SC002001404 to        Hearsay, FRE 802. Authentication, FRE 901. Late       Damages - Initial Disclosures - Previously Produced - Relied Upon by Expert
                  Damages                                           ‐1440                     produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


P‐1348            Business Cycle Dating Committee, National Bureau of JTV‐SC002001441 to      Hearsay, FRE 802. Authentication, FRE 901. Late       Relied upon by experts. Rule 26(e) production.
                  Economic Research                                   ‐1442                   produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                              information Plaintiff attempts to rely upon a trial
                                                                                              that was not provided to
                                                                                              Defendant cannot be used").


                                                                                              Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Rule 26(e) production.
                                                                                              Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                    JTV‐SC002001459 to        to rely upon a trial that was not provided to
P‐1350            Scrum books
                                                                    ‐1461                     Defendant cannot be used"); See Defendant's
                                                                                              Motion in Limine No. 5


                                                                    JTV‐SC002001462‐64, JTV‐ Hearsay, FRE 802. Late produced, FRCP 37(c)(1),        Rule 26(e) production.
                                                                    SC002001586 to ‐         Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                             to rely upon a trial that was not provided to
P‐1351, P‐1362    Master list of Scrum teams
                                                                                             Defendant cannot be used"); See Defendant's
                                                                                             Motion in Limine No. 5


                                                                                              Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Rule 26(e) production.
                                                                                              Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                    JTV‐SC002001465 to        to rely upon a trial that was not provided to
P‐1352 ‐ P‐1353   Scrum kick off week
                                                                    ‐1470                     Defendant cannot be used"); See Defendant's
                                                                                              Motion in Limine No. 5


                                                                                              Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Rule 26(e) production.
                                                                                              Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                    JTV‐SC002001471 to        to rely upon a trial that was not provided to
P‐1354            Sprint Review Article
                                                                    ‐1471                     Defendant cannot be used"); See Defendant's
                                                                                              Motion in Limine No. 5


                                                                                              Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Rule 26(e) production.
                                                                                              Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                    JTV‐SC002001472 to        to rely upon a trial that was not provided to
P‐1355 ‐ P‐1356   Agenda for Scrum visit
                                                                    ‐1473                     Defendant cannot be used"); See Defendant's
                                                                                              Motion in Limine No. 5




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                                                                                            Hearsay, FRE 802. Late produced, FRCP 37(c)(1),        Rule 26(e) production.
                                                                                            Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                     JTV‐SC002001474 to     to rely upon a trial that was not provided to
P‐1357            Autobots Sprint 5‐ final review Transformers ppt
                                                                     ‐1495                  Defendant cannot be used"); See Defendant's
                                                                                            Motion in Limine No. 5


P‐1358            Payment processing flow.pdf                        JTV‐SC002001496 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Rule 26(e) production.
                                                                     ‐1496                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                            information Plaintiff attempts to rely upon a trial
                                                                                            that was not provided to
                                                                                            Defendant cannot be used").


                                                                                            Hearsay, FRE 802. Late produced, FRCP 37(c)(1),        Rule 26(e) production.
                                                                                            Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                     JTV‐SC002001523 to     to rely upon a trial that was not provided to
P‐1360            Introduction to Scrum JTV ppt.
                                                                     ‐1584                  Defendant cannot be used"); See Defendant's
                                                                                            Motion in Limine No. 5


P‐1361            Payment processing flow.vsd                        JTV‐SC002001585 to     Not Published. Hearsay, FRE 802. Authentication,       Demonstrative.
                                                                     ‐1585                  FRE 901. Late produced, FRCP 37(c)(1), Dkt. 612 at
                                                                                            12 ("any information Plaintiff attempts to rely upon
                                                                                            a trial that was
                                                                                            not provided to Defendant cannot be used").



P‐1363            Sterling Project Damages Impacts Resulting from Lost JTV‐SC001330777 to   Hearsay, FRE 802. Authentication, FRE 901.             Damages - Relied Upon by Expert - Rule 26.e - Previously Produced - Written by Jason
                  or Delayed Features, March 2012‐2014 Roadmap         ‐0799                Hearsay within hearsay, FRE 805. Prejudical,           Hembree
                                                                                            misleading and confusing, FRE
                                                                                            403. FRE 702

P‐1365            Tim Matthews Handwritten Notes 10/14/08            JTV‐SC002001587 to     Hearsay, FRE 802. Authentication, FRE 901. Late        Business Record.- FRE 803(6)(B); Covered by Stipulation, Dkt. # 223; Rule 26.e
                                                                     ‐1587                  produced, FRCP 37(c)(1), Dkt. 612 at 12 ("any
                                                                                            information Plaintiff attempts to rely upon a trial
                                                                                            that was not provided to
                                                                                            Defendant cannot be used").


P‐1375 ‐ P‐1386   Reid interview notes and transcripts               SCI0346840 to ‐6998    Hearsay, FRE 802                                       Statements against Interst - FRE 804(b)(3)




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         PDF containing excerpts from Source Code files;                                                                                 These are screen shots from Sterling code implemented at JTV. It is relevant.
         TestDiffGen.java lines 15‐16; XMLComparator.java
         line 32; XSDGenerator.java lines 422‐424, 821‐823,
         805, 834, and 880 YCPMenuAPI.java lines 529‐530;
         YDKSynchronizationAnalysisResultsBehavior.java line
         416, line 439, and YDMShipmentSplitter.java lines
         70‐72; YFCEntityApiImplTest.java line 29
         YFCEntityDBHome.java line 1730 in V7.9 and line
         1791 in V7.11; FS_Count_RequestImpl.java line 1039
         in V7.9 and line 1174 in V7.11;
         YFS_Count_RequestImpl.java lines 1061‐1074 in V7.9
         and lines 1196‐
         YFSCHangeOrderSchedule.java line 511 in V7.9 and
         line 512 in V7.11 YFSCharge.java lines 103 and also in
         382; YSFMoveStatusManager.java lines 233‐234 in
         V7.9 and lines 232‐233 in
         YFSOrderLineGetXMLHelper.java lines 86‐87 and 559                        Optional Completeness FRE 106; Irrelevant,
P‐1389   YFSOrderLineGetXMLHelper.java lines 305, in 1083, SCI0346999 to ‐7052    misleading, unfairly prejudicial, confusing FRE 403;
         and also in 1110 YFSOrderLineGetXMLHelper.java                           Hearsay, FRE 802
         lines 86‐87 and 559 YFSOrderLineGetXMLHelper.java
         lines 305, in 1083, and also in 1110
         YFSPromiseSolutionIteration.java lines 107‐108
         YFSReceiveOrder.java line 660 and line 668 in V7.9
         and line 663 and line YIFClientFactory.java lines 20‐21




P‐1390   U.S. National Bureau of Economic Research           N/A to ‐N/A          Hearsay, FRE 802                                       Relied upon by experts. Rule 26(e) production.
         September 20,
         2010 Report establishing that the recession began
         December 2007 and ended June 2009

P‐1393   Felton Lewis Statement Under Oath                   N/A to ‐N/A          Hearsay, FRE 802. FRCP 30(b)(1), see Defendant's       See opposition toMIL No. 3.
                                                                                  Motion in
                                                                                  Limine No. 3.
P‐1395   JTV’s Enterprise Software Systems                   JTV‐SC001331786 to   None (Description does not match published             N/A
                                                             ‐1912                document
                                                                                  which is the MCGI 2010 Tax Return)



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P‐1396   Plan comparisons file generated by TKR                JTV‐SC002000145 to   Hearsay, FRE 802. Authentication, FRE 901            Expert work product.
                                                               ‐0147
P‐1397   Mark Fontecchio “How much ERP custom software         JTV‐SC002000226 to   Hearsay, FRE 802. Hearsay within hearsay, FRE        Relied upon by experts. Rule 26(e) production.
         application development is too much?”,                ‐0231                805.
                                                                                    Authentication, FRE 901
P‐1399   KR generated sample project plan, Task tab, Gantt     JTV‐SC002000920 to   Hearsay, FRE 802. Authentication, FRE 901            Expert work product.
         chart view,                                           ‐0920
         Sample Project Plan ex
P‐1400   TKR generated sample project plan, Task tab, Gantt    JTV‐SC002000921 to   Hearsay, FRE 802. Authentication, FRE 901            Expert work product.
         chart                                                 ‐0921
         view, Sample Project Plan ex
P‐1401   TKR generated sample project plan, Task tab, Gantt    JTV‐SC002000922 to   Hearsay, FRE 802. Authentication, FRE 901            Expert work product.
         chart                                                 ‐0922
         view, Sample Project Plan ex
P‐1403   “Three Reasons Not To Customize Your ERP              JTV‐SC002001007 to   Hearsay, FRE 802. Authentication, FRE 901            Relied upon by experts. Rule 26(e) production.
         Implementation.”                                      ‐1009
         Compilation Exhibit: Ryan Report, Exhibit B:                               Description does not match published document,       Error in P Ex. No. See Ex. B to Ryan Report. 1409, 1410, and 1411 will be re-marked
         Information Provided by JTV’s Software Engineers                           which has Bates numbers                              as 1492, 1493, and 1494.
         Considered in Writing This Report re: Sterling’s PO
P‐1409                                                         N/A to ‐N/A
         and inbound nWMS as well as OMS and outbound
         nWMS Products Functionalities


P‐1410   Compilation Exhibit: Ryan Report, Exhibit C:          N/A to ‐N/A          Description does not match published document,       Error in P Ex. No. See Ex. C to Ryan Report. 1409, 1410, and 1411 will be re-marked
         Information Provided by JTV’s Software Engineers                           which has Bates numbers                              as 1492, 1493, and 1494.
         Considered in Writing This Report WRT the
         Traceability Matrix
P‐1411   Compilation Exhibit: Schatz Report, Exhibit D:        N/A to ‐N/A          Description does not match published document,       Error in P Ex. No. See Ex. D to Schatz Report. 1409, 1410, and 1411 will be re-marked
         Memorandum                                                                 which has                                            as 1492, 1493, and 1494.
         From C. Chris Meystrik                                                     Bates numbers
P‐1458   Compilation Exhibit: Bayley Report, Schedules and     N/A to ‐N/A          Hearsay, FRE 802; FRE 702                            Compilation exhibit of previously produced documents relied upon by expert.
         Appendices

P‐1459   Compilation of Examples of JTV Screenshots            N/A to ‐N/A          Irrelevant, confusing, waste of time, FRE 402, FRE   Relevant - use of software.
                                                                                    403.
P‐1460   Compilation of Examples of JTV Code Installed at JTV N/A to ‐N/A           Hearsay, FRE 802; FRE 702; Authentication, FRE       See opposition toMIL No. 7.
                                                                                    901; Not produced, FRCP 37(c)(1), see Motion in
                                                                                    Limine No. 7
P‐1461   Compilation of build‐up of IT hardware                N/A to ‐N/A          Optional Completeness, Irrelevant, FRE 106, FRE      Compilation exhibit of previously produced documents relied upon by expert.
                                                                                    402. Hearsay, FRE 802. Authentication, FRE 901.
                                                                                    Not produced,
                                                                                    FRCP 37(c)(1)
P‐1462   Compilation of Examples of Sterling Code Installed at N/A to ‐N/A          Hearsay, FRE 802; FRE 702; Authentication, FRE       See opposition toMIL No. 7.
         JTV as Part of Phoenix Rising                                              901; Not produced, FRCP 37(c)(1), see Motion in
                                                                                    Limine No. 7



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         Collective Exhibit: Sprint Reviews for 11/26/2007,                Hearsay 802; Authentication 901; FRCP 37(c)(1) not   Compilation of Rule 26(e) material to rebut Sterling's expert.
         4/11/2008, 2/29/2008, 3/14/2008, 5/5/2008,                        produced in discovery
         2/18/2008, 3/10/2008,
         3/12/2008, 4/1/2008, 5/6/2008, 6/4/2008, 7/2/2008,
         8/5/2008, 8/6/2008, 8/27/2008, 11/5/2008,
P‐1463   6/6/2008,                                          N/A to ‐N/A
         12/14/2007, 1/28/2008, 2/27/2008, 3/25/2008,
         4/22/2008,
         6/2/2008



P‐1464   Collective Exhibit: Sprint Retrospectives for      N/A to ‐N/A    Hearsay 802; Authentication 901; FRCP 37(c)(1) not   Compilation of Rule 26(e) material to rebut Sterling's expert. See opposition to MIL No.
         11/26/2007,                                                       produced                                             4.
         12/20/2007, 11/21/2007, 11/21/2007                                in discovery; Motion in Limine No. 4
P‐1465   Compilation of WMS Solution Design Documents       N/A to ‐N/A    Confusing, misleading, waste of time, FRE 403.       Compilation exhibit of previously produced documents.     This saves time, it doesn't waste
                                                                                                                                it.
P‐1466   Compilation of PO Solution Design Documents        N/A to ‐N/A    Confusing, misleading, waste of time, FRE 403.       Compilation exhibit of previously produced documents.     This saves time, it doesn't waste
                                                                                                                                it.
P‐1467   Compilation of OMS Solution Design Documents       N/A to ‐N/A    Confusing, misleading, waste of time, FRE 403.       Compilation exhibit of previously produced documents.     This saves time, it doesn't waste
                                                                                                                                it.
P‐1468   Compilation of HLD and DD Documents                N/A to ‐N/A    Confusing, misleading, waste of time, FRE 403.       Compilation exhibit of previously produced documents.     This saves time, it doesn't waste
                                                                                                                                it.
P‐1469   Compilation of correspondence re the OMS SDD (with N/A to ‐N/A    Hearsay 802; Authentication 901                      Compilation exhibit of previously produced documents.
         attachments) not identified elsewhere

P‐1470   Background JTV payroll records and other background N/A to ‐N/A   Hearsay 802; Authentication 901; FRCP 37(c)(1) not   Relied upon by experts. Rule 26(e) production.
         records associated with the cost of employment, as                produced in discovery; Motion in Limine No. 4
         previously produced and as necessary to verify any
         JTV internal employment charges against Sterling for
         JTV's support in the failed implementation of Sterling
         software and repair and replacement of contractually
         required Sterling
         functionality.



P‐1471   Compilation of Correspondence re DDs (with         N/A to ‐N/A    Optional Completeness, Irrelevant, waste of time,    Compilation exhibit of previously produced documents.
         attachments)                                                      FRE 106,
                                                                           FRE 402, FRE 403
P‐1472   Compilation of Correspondence re HLDs and DDs      N/A to ‐N/A    Optional Completeness, Irrelevant, waste of time,    Compilation exhibit of previously produced documents.
         (with                                                             FRE 106,
         attachments)                                                      FRE 402, FRE 403




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P‐1473   Compilation of Correspondence re SDDs (with          N/A to ‐N/A              Optional Completeness, Irrelevant, waste of time,     Compilation exhibit of previously produced documents.
         attachments)                                                                  FRE 106,
                                                                                       FRE 402, FRE 403
P‐1474   Compilation of Correspondence re Traceability       N/A to ‐N/A               Optional Completeness, Irrelevant, waste of time,     Compilation exhibit of previously produced documents.
         Matrices (with                                                                FRE 106,
         attachments)                                                                  FRE 402, FRE 403
P‐1475   Bios of JTV Employees and Consultants in Leadership JTV‐SC002001138 to        Hearsay, FRE 802. Late produced, FRCP 37(c)(1),       Rule 26(e) production.
         Positions in IT                                     ‐1166                     Dkt. 612 at 12 ("any information Plaintiff attempts
                                                                                       to rely upon a trial that was not provided to
                                                                                       Defendant cannot be used")

P‐1483   Email re: notes from today's tech steering meeting   JTV‐SC00986385 to ‐6385 Optional Completeness, Irrelevant, FRE 106, FRE        Relevant - deals with the project - Business Record.- FRE 803(6)(B); Covered by
                                                                                      402                                                    Stipulation, Dkt. # 223.




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                                         Exhibit C
                        (JTV’s Objections to Sterling’s Core Exhibits)




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Trial       Date            Bates Range            Document                                                                                     Depo Ex.                              Objections
Ex.
D-25      12/06/2006   JTV-SC000171713-739; JTV-   Email from Tom Guschke to David Boeschenstein and Andy Meadows regarding “WMS            Boeschenstein 002   None, excpet that JTV-SC000171738-001 is
                       SC000171738-001             Business Case Summary” attaching “WMS Business Case Summary” Presentation                                    not part of the 12/06/2006 email


D-42      07/15/2008   JTV-SC00080737-372          Agenda for General Business Meeting with Handwritten Notes of Tim Matthews                Wagner, Charles    None - except bates number is wrong; should
                                                                                                                                             005                be JTV-SC000807371


D-67      11/01/2005        SCI0185871-962         Yantra Client Profiles                                                                    Madhavan 028       Not complete - SCI0185869-965

D-139     12/04/2006   JTV-SC000171807-839; JTV-   Keogh Project KF-396, WMS Business Case Summary                                              Meystrik 007    None, but EMBEDDED_FILE_2.xls - JTV
                       SC000171842-863                                                                                                          Guschke 021     SC000171842-863 is not the WMS
                                                                                                                                                                Business Case Summary




D-1019    05/16/2008        SCI0321716             Article from Knoxnews.com entitled “Jewelry Television cutting more than 200 jobs”                           FRE 802 - Hearsay


D-1243    07/10/2010                               Knoxville News Sentinel Article, “Jewelry Television seeks sparkling future”                                 FRE 802 - Hearsay


D-1274    03/31/2013          SCI0321754-64        Article entitled, “Tim Matthews guides Jewelry Television back to profitability”                             FRE 802 - Hearsay


D-1286    05/30/2013        SCI0321765-69          Jewelry Television Reviews – Glassdoor                                                                       FRE 802 - Hearsay

D-1397    04/15/2008   JTV-SC001278610-14          JTV Memo from C. Wagner III to T. Matthews re: Material Litigation                                           FRE 401 - Relevance
                                                                                                                                                                FRE 508 - Privilege

D-1398    01/20/2017                               http://www.knoxnews.com/story/money/business/2017/01/20/growing- sales-growing-campus-                       FRE 802 - Hearsay
                                                   jtv/96716472/gla


D-1399                                             Federal Rule of Evidence 1006 Summary of JTV Financial Statements                                            Not complete and inaccurate:
                                                                                                                                                                D-1653-002 (JTV Capital Expenditures):
                                                                                                                                                                2016 is blank and is therefore incorrect.
                                                                                                                                                                D-1653-003 (JTV Inventory)): 2004 is
                                                                                                                                                                blank and is therefore incorrect.
                                                                                                                                                                D-1653-004 (JTV Debt): 2004 is blank and
                                                                                                                                                                is therefore incorrect.
                                                                                                                                                                D-1653-005 (JTV
                                                                                                                                                                Debt/Additions/Payment): 2004 is is blank
                                                                                                                                                                and is therefore incorrect.
                                                                                                                                                                Repayments are incorrect (overstated) for
                                                                                                                                                                fiscal years 2009 and 2010.
                                                                                                                                                                D-1653-006 (JTV Pre-Tax Profits: Pre-tax
                                                                                                                                                                profits are incorrect for fiscal years 2007
                                                                                                                                                                (understated) 2010 (overstated), 2014
                                                                                                                                                                (understated) and 2015 (understated).




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